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                          2:17-cv-00194-kjd Document 310 Filed 05/27/25 Page 1 of 2




                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF VERMONT



                 MISTY BLANCHETTE PORTER, M.D.,


                              Plaintiff,
                 vs.

                                                                           Case No. 2:17-cv-194
                 DARTMOUTH-HITCHCOCK MEDICAL
                 CENTER, DARTMOUTH-HITCHCOCK
                 CLINIC, MARY HITCHCOCK
                 MEMORIAL HOSPITAL, and
                 DARTMOUTH-HITCHCOCK HEALTH,


                              Defendants.


                                           DEFENDANTS’ NOTICE OF APPEAL 1

                       Notice is hereby given that Dartmouth-Hitchcock Medical Center, Dartmouth-Hitchcock

             Clinic, Mary Hitchcock Memorial Hospital, and Dartmouth-Hitchcock Health, Defendants in the

             above-named case, appeal to the United States Court of Appeals for the Second Circuit from the

             Judgment (Doc. 297) entered in this action on the 24th day of April, 2025.




             1
              Defendants also notify the United States Court of Appeals for the Second Circuit of their pending
             Motion to Alter Judgment and, in the Alternative, for a New Trial (Doc. 305) and Motion for New
             Trial (Doc. 308), which may affect this notice. See Federal Rule of Appellate Procedure
             4(a)(4)(A)(iv) and (v).

                                                             1
(2 of 29), Page 2 of 29         Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 2 of 29
                          2:17-cv-00194-kjd Document 310 Filed 05/27/25 Page 2 of 2




             Date: May 27, 2025                                   Respectfully submitted,

                                                                  /s/ Tristram J. Coffin
                                                                  DOWNS RACHLIN MARTIN PLLC

                                                                  Tristram J. Coffin
                                                                  199 Main Street
                                                                  Burlington, VT 05402
                                                                  Telephone: 802-863-2375
                                                                  tcoffin@drm.com


                                                                  FOLEY & LARDNER LLP

                                                                  Donald W. Schroeder (admitted pro hac
                                                                  vice)
                                                                  Morgan McDonald (admitted pro hac vice)
                                                                  Megan E. Martinez (admitted pro hac vice)
                                                                  111 Huntington Avenue
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                                                                  Tel: (617) 342-4000
                                                                  dschroeder@foley.com
                                                                  mmcdonald@foley.com
                                                                  memartinez@foley.com

                                                                  Attorneys for Defendants




                                              CERTIFICATE OF SERVICE

                     I hereby certify that, on May 27, 2025, a copy of the foregoing document was electronically
             filed through the ECF system and will be sent electronically to all persons identified on the Notice
             of Electronic Filing.



                                                                          /s/ Morgan McDonald
                                                                            Morgan McDonald




                                                              2
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                                                                               APPEAL,CLOSED,ENE3,ENEN,L.R. 73
                                                U.S. District Court
                                         District of Vermont (Burlington)
                                 CIVIL DOCKET FOR CASE #: 2:17−cv−00194−kjd

              Blanchette Porter v. Dartmouth Hitchcock Medical Center et al   Date Filed: 10/11/2017
              Assigned to: Judge Kevin J. Doyle                               Date Terminated: 04/24/2025
              Cause: 28:1332 Diversity−Employment Discrimination              Jury Demand: Plaintiff
                                                                              Nature of Suit: 445 Civil Rights:
                                                                              Americans with Disabilities −
                                                                              Employment
                                                                              Jurisdiction: Diversity
              Special Master
              John Schraven                                   represented by John A. Schraven
                                                                             Shoup Evers & Green, PLLC
                                                                             Suite 430
                                                                             126 College Street
                                                                             Burlington, VT 05401
                                                                             (802) 861−6666
                                                                             Email: jschraven@seglawyers.com
                                                                             ATTORNEY TO BE NOTICED

              Plaintiff
              Misty Blanchette Porter                         represented by Eric D. Jones , Esq.
              M.D.                                                           Langrock Sperry & Wool, LLP
                                                                             210 College Street
                                                                             P.O. Box 721
                                                                             Burlington, VT 05402−0721
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                                                                             Fax: (802) 864−0137
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                                                                              Vitt & Associates
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                                                                              Fax: (802) 649−1692
                                                                              Email: gvitt@vittnunanlaw.com
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                                                                              New York, NY 10016
                                                                              646−688−4081
                                                                              Email: kkramer@dtolaw.com
                                                                              TERMINATED: 12/06/2024

                                                                              Sarah H. Nunan , Esq.
                                                                              Vitt & Nunan PLC
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                                                                              Norwich, VT 05055
                                                                              802−649−5700
                                                                              Email: snunan@vittnunanlaw.com
                                                                              ATTORNEY TO BE NOTICED
(4 of 29), Page 4 of 29     Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 4 of 29


              V.
              Defendant
              Dartmouth−Hitchcock Medical Center      represented by Daniel R. Long , Esq.
                                                                     Paul Frank + Collins PC
                                                                     1 Church Street
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                                                                     Burlington, VT 05402−1307
                                                                     (802) 658−2311
                                                                     Email: dlong@pfclaw.com
                                                                     TERMINATED: 10/29/2019
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                                                                     ATTORNEY TO BE NOTICED

                                                                     Donald W. Schroeder , Esq.
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                                                                     Tristram J. Coffin , Esq.
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                                                                     Burlington, VT 05402−0190
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                                                                     Email: tcoffin@drm.com
                                                                     ATTORNEY TO BE NOTICED

              Defendant
              Dartmouth−Hitchcock Clinic              represented by Daniel R. Long , Esq.
                                                                     (See above for address)
(5 of 29), Page 5 of 29     Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 5 of 29

                                                                   TERMINATED: 10/29/2019
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Donald W. Schroeder , Esq.
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Jessica E. Joseph , Esq.
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Megan Martinez , Esq.
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Morgan McDonald
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Tristram J. Coffin , Esq.
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

              Defendant
              Mary Hitchcock Memorial Hospital        represented by Daniel R. Long , Esq.
                                                                     (See above for address)
                                                                     TERMINATED: 10/29/2019
                                                                     PRO HAC VICE
                                                                     ATTORNEY TO BE NOTICED

                                                                   Donald W. Schroeder , Esq.
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Jessica E. Joseph , Esq.
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED
                                                                   Megan Martinez , Esq.
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Morgan McDonald
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED

                                                                   Tristram J. Coffin , Esq.
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

              Defendant
              Dartmouth−Hitchcock Health              represented by Daniel R. Long , Esq.
                                                                     (See above for address)
                                                                     TERMINATED: 10/29/2019
                                                                     PRO HAC VICE
                                                                     ATTORNEY TO BE NOTICED
(6 of 29), Page 6 of 29       Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 6 of 29

                                                                            Donald W. Schroeder , Esq.
                                                                            (See above for address)
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED

                                                                            Jessica E. Joseph , Esq.
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED

                                                                            Megan Martinez , Esq.
                                                                            (See above for address)
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED

                                                                            Morgan McDonald
                                                                            (See above for address)
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED

                                                                            Tristram J. Coffin , Esq.
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED

              ENE Evaluator
              ENE Evaluator                                 represented by Gregory S. Clayton , Esq.
              TERMINATED: 11/07/2019                                       Clayton Mediation, LLC
                                                                           P.O. Box 1016
                                                                           Camden, ME 04843−1016
                                                                           (207) 706−4977
                                                                           Email: gclayton@claytonmediation.com
                                                                           TERMINATED: 11/07/2019
                                                                           ATTORNEY TO BE NOTICED


              V.
              Movant Party
              Susan Burton                                  represented by Susan Burton
                                                                           620 8th Avenue
                                                                           New York, NY 10018
                                                                           917−309−7096
                                                                           PRO SE


               Date Filed     #   Docket Text
               10/11/2017     1 COMPLAINT against Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                                Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital filed by
                                Misty Blanchette Porter. (Attachments: # 1 Civil Cover Sheet)(esb) Deft names
                                clarified on 10/11/2017 (law). (Entered: 10/11/2017)
               10/23/2017     2 WAIVER OF SERVICE Returned Executed: Dartmouth−Hitchcock Clinic waiver sent
                                on 10/16/2017, answer due 12/15/2017.(Vitt, Geoffrey) (Entered: 10/23/2017)
               10/23/2017     3 WAIVER OF SERVICE Returned Executed: Dartmouth−Hitchcock Health waiver
                                sent on 10/16/2017, answer due 12/15/2017.(Vitt, Geoffrey) (Entered: 10/23/2017)
               10/23/2017     4 WAIVER OF SERVICE Returned Executed: Dartmouth−Hitchcock Medical Center
                                waiver sent on 10/16/2017, answer due 12/15/2017.(Vitt, Geoffrey) (Entered:
                                10/23/2017)
               10/23/2017     5 WAIVER OF SERVICE Returned Executed: Mary Hitchcock Memorial Hospital
                                waiver sent on 10/16/2017, answer due 12/15/2017.(Vitt, Geoffrey) (Entered:
                                10/23/2017)
(7 of 29), Page 7 of 29     Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 7 of 29

               12/15/2017    6 ANSWER to Complaint by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock
                               Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital.
                               (Coffin, Tristram) Attachments 1− 4 removed on 12/18/2017 (law). (Entered:
                               12/15/2017)
               12/15/2017    7 CORPORATE DISCLOSURE STATEMENT pursuant to Local Rule 7.1(a) by Mary
                               Hitchcock Memorial Hospital. (esb) (Entered: 12/15/2017)
               12/15/2017    8 CORPORATE DISCLOSURE STATEMENT pursuant to Local Rule 7.1(a) by
                               Dartmouth−Hitchcock Medical Center. (esb) (Entered: 12/15/2017)
               12/15/2017    9 CORPORATE DISCLOSURE STATEMENT pursuant to Local Rule 7.1(a) by
                               Dartmouth−Hitchcock Health. (esb) (Entered: 12/15/2017)
               12/15/2017   10 CORPORATE DISCLOSURE STATEMENT pursuant to Local Rule 7.1(a) by
                               Dartmouth−Hitchcock Clinic. (esb) (Entered: 12/15/2017)
               12/18/2017   11 NOTICE OF DOCKET ENTRY CORRECTION re: 6 Answer to Complaint filed by
                               Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Medical Center,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Clinic. Attachments 1 − 4 have
                               been removed, they were re−entered separately (see Docs. 7 − 10 ). (law) (Entered:
                               12/18/2017)
               12/18/2017   12 ENE LETTER re: Potential Evaluators sent; responses due by 1/5/2018. (hbc)
                               (Entered: 12/18/2017)
               01/02/2018   13 PROPOSED Stipulated Discovery Schedule/Order by Dartmouth−Hitchcock Clinic,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                               Memorial Hospital.(Coffin, Tristram) (Entered: 01/02/2018)
               01/04/2018   14 STIPULATED DISCOVERY SCHEDULE/ORDER Discovery due by 8/15/2018.
                               Motions due by 9/15/2018. Early Neutral Evaluation set for 4/2018. Ready for Trial by
                               11/15/2018. Signed by Chief Judge Geoffrey W. Crawford on 1/3/2018. (esb)
                               (Entered: 01/04/2018)
               01/05/2018   15 STIPULATION AS TO ENE by all parties.(Vitt, Geoffrey) (Entered: 01/05/2018)
               01/08/2018   16 ASSIGNED Early Neutral Evaluator: Gregory S. Clayton, Esq. (hbc) (Entered:
                               01/08/2018)
               01/19/2018   17 NOTICE OF APPEARANCE by Katherine B. Kramer, Esq on behalf of Misty
                               Blanchette Porter.(Kramer, Katherine) (Entered: 01/19/2018)
               01/22/2018   18 DISCOVERY CERTIFICATE − Request to Produce Documents by Misty Blanchette
                               Porter.(Vitt, Geoffrey) (Entered: 01/22/2018)
               01/23/2018   19 DISCOVERY CERTIFICATE − Initial Disclosures by Misty Blanchette Porter.(Vitt,
                               Geoffrey) (Entered: 01/23/2018)
               02/20/2018   20 MOTION for Authorization to Contact Dartmouth−Hitchcock Employees Ex Parte,
                               Pursuant to Vermont Rule of Professional Conduct 4.2 filed by Misty Blanchette
                               Porter.(Vitt, Geoffrey) (Entered: 02/20/2018)
               03/06/2018   21 RESPONSE in Opposition re 20 MOTION for Authorization to Contact
                               Dartmouth−Hitchcock Employees Ex Parte, Pursuant to Vermont Rule of Professional
                               Conduct 4.2 filed by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                               Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital . (Coffin,
                               Tristram) Filers clarified on 3/20/2018 (jlh). (Entered: 03/06/2018)
               03/14/2018   22 REPLY to Response to 20 MOTION for Authorization to Contact
                               Dartmouth−Hitchcock Employees Ex Parte, Pursuant to Vermont Rule of Professional
                               Conduct 4.2 filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 03/14/2018)
               03/19/2018   23 DISCOVERY CERTIFICATE − Interrogatories and Request to Produce by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 03/19/2018)
               03/20/2018   24 JOINT MOTION for Protective Order filed by Dartmouth−Hitchcock Clinic,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                               Memorial Hospital. (Attachments: # 1 Exhibit 1)(Coffin, Tristram) (Entered:
                               03/20/2018)
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               03/21/2018   25 CONFIDENTIALITY STIPULATION, PROTECTIVE AGREEMENT AND ORDER
                               granting 24 Joint Motion for Protective Order. Signed by Chief Judge Geoffrey W.
                               Crawford on 3/21/2018. (Attachments: # 1 Exhibit A) (esb) (Entered: 03/21/2018)
               03/27/2018   26 MOTION to Compel Response to Plaintiff's First Set of Requests to Produce filed by
                               Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 03/27/2018)
               04/09/2018   27 DISCOVERY CERTIFICATE − Response to Request for Admissions by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/09/2018)
               04/09/2018   28 DISCOVERY CERTIFICATE − Response to Request to Produce by Misty Blanchette
                               Porter.(Vitt, Geoffrey) (Entered: 04/09/2018)
               04/10/2018   29 RESPONSE in Opposition re 26 MOTION to Compel Response to Plaintiff's First Set
                               of Requests to Produce filed by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock
                               Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital.
                               (Coffin, Tristram) Filers clarified on 4/18/2018 (law). (Entered: 04/10/2018)
               04/17/2018   30 JOINT MOTION to Amend the Discovery Schedule/Order filed by Misty Blanchette
                               Porter. (Attachments: # 1 Exhibit A)(Vitt, Geoffrey) (Entered: 04/17/2018)
               04/18/2018   31 AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting 30 JOINT
                               MOTION to Amend the Discovery Schedule/Order. Discovery due by 12/15/2018.
                               Motions due by 1/15/2019. Early Neutral Evaluation shall be conducted at a date and
                               time in September 2018. Ready for Trial by 2/15/2019. Signed by Chief Judge
                               Geoffrey W. Crawford on 4/18/2018. (law) Motions deadline corrected on 4/18/2018
                               (law). (Entered: 04/18/2018)
               04/20/2018   32 JOINT MOTION for Hearing (status conference) filed by Misty Blanchette
                               Porter.(Vitt, Geoffrey) Event/text clarified on 4/20/2018. (Entered: 04/20/2018)
               04/23/2018   33 DISCOVERY CERTIFICATE − Answer to Interrogatories and Requests to Produce
                               by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/23/2018)
               04/23/2018   34 DISCOVERY CERTIFICATE − Answer to Interrogatories and Requests to Produce
                               by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/23/2018)
               04/24/2018   35 REPLY to Response to 26 MOTION to Compel Response to Plaintiff's First Set of
                               Requests to Produce filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered:
                               04/24/2018)
               05/03/2018   36 ORDER granting 32 MOTION for Hearing. Signed by Chief Judge Geoffrey W.
                               Crawford on 5/3/2018. (This is a text−only Order.) (jal) (Entered: 05/03/2018)
               05/08/2018   37 NOTICE of Hearing re: 20 MOTION for Authorization to Contact
                               Dartmouth−Hitchcock Employees Ex Parte, Pursuant to Vermont Rule of Professional
                               Conduct 4.2, 26 MOTION to Compel Response to Plaintiff's First Set of Requests to
                               Produce, and a Status Conference. Hearing set for 5/29/2018 at 2:30 PM in Rutland
                               Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered: 05/08/2018)
               05/08/2018       Set Hearing: Status Conference set for 5/29/2018 at 2:30 PM in Rutland Courtroom
                                before Chief Judge Geoffrey W. Crawford. (pjl) (Entered: 05/08/2018)
               05/08/2018   38 MOTION for Appearance Pro Hac Vice of Daniel R. Long filed by
                               Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Affidavit of
                               Daniel R. Long, # 2 Certificate of Good Standing)(jlh) Filer added on 5/16/2018 (law).
                               (Entered: 05/09/2018)
               05/08/2018   39 MOTION for Appearance Pro Hac Vice of Donald W. Schroeder filed by
                               Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Affidavit of
                               Donald W. Schroeder, # 2 Certificate of Good Standing)(jlh) Filer added on 5/16/2018
                               (law). (Entered: 05/09/2018)
               05/16/2018   40 ORDER granting 38 , 39 MOTIONS for Admission Pro Hac Vice of Daniel R. Long,
                               Esq. & Donald W. Schroeder, Esq. Signed by Chief Judge Geoffrey W. Crawford on
                               5/16/2018. (This is a text−only Order.) (pjl) (Entered: 05/16/2018)
(9 of 29), Page 9 of 29     Case: 25-1382, 05/29/2025, DktEntry: 4.2, Page 9 of 29

               05/31/2018   41 REVISED NOTICE of Hearing re: 20 MOTION for Authorization to Contact
                               Dartmouth−Hitchcock Employees Ex Parte, Pursuant to Vermont Rule of Professional
                               Conduct 4.2, 26 MOTION to Compel Response to Plaintiff's First Set of Requests to
                               Produce and for a Status Conference. Hearing reset for 6/28/2018 at 1:30 PM in
                               Rutland Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered:
                               05/31/2018)
               06/21/2018   42 SECOND REVISED NOTICE of Hearing re: 20 MOTION for Authorization to
                               Contact Dartmouth−Hitchcock Employees Ex Parte, Pursuant to Vermont Rule of
                               Professional Conduct 4.2, 26 MOTION to Compel Response to Plaintiff's First Set of
                               Requests to Produce, and for a Status Conference. Hearing reset for 7/17/2018 at 1:30
                               PM in Rutland Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered:
                               06/21/2018)
               06/21/2018       Set Hearing: Status Conference set for 7/17/2018 at 1:30 PM with Motion Hearing in
                                Rutland Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered:
                                06/21/2018)
               07/16/2018   43 MOTION for Appearance Pro Hac Vice of Jessica Joseph filed by
                               Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Affidavit of
                               Jessica E. Joseph, # 2 Certificate of Good Standing)(jlh) (Entered: 07/17/2018)
               07/17/2018   44 ORDER granting 43 MOTION for Appearance Pro Hac Vice of Jessica Joseph. Signed
                               by Chief Judge Geoffrey W. Crawford on 7/17/2018. (This is a text−only Order.) (pjl)
                               (Entered: 07/17/2018)
               07/17/2018   45 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                               Status Conference and Motion Hearing held on 7/17/2018 re: 20 MOTION for
                               Authorization to Contact Dartmouth−Hitchcock Employees Ex Parte, 26 MOTION to
                               Compel Response to Plaintiff's First Set of Requests to Produce. G. Vitt, Esq. & K.
                               Kramer, Esq. present for pltf. T. Coffin, Esq., D. Schroeder, Esq. & J. Joseph, Esq.
                               present for dfts. Court makes inquiries and counsel make statements re: pending
                               motions. ORDERED: 20 MOTION for Authorization, 26 MOTION to Compel are
                               taken under advisement. STATUS CONFERENCE: Counsel make statements re: (1)
                               Request for deadline re: production of documents, (2) Confidentiality issue re: filings
                               of confidential material. ORDERED: Dfts are to complete production of documents to
                               pltf by 8/1/2018. The court gives counsel permission to file confidential documents
                               under seal. The parties are to submit a revised stipulated discovery schedule as soon as
                               possible. Parties predict that they will be trial−ready by June 2019. (Court Reporter:
                               Recorded) (pjl) (Entered: 07/17/2018)
               07/24/2018   46 JOINT MOTION to Amend the Discovery Schedule/Order filed by Misty Blanchette
                               Porter. (Attachments: # 1 Exhibit A)(Vitt, Geoffrey) (Entered: 07/24/2018)
               07/25/2018   47 AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting 46 JOINT
                               MOTION to Amend the Discovery Schedule/Order. Discovery due by 2/28/2019.
                               Motions due by 1/15/2019. Early Neutral Evaluation set for 10/2018. Ready for Trial
                               by 6/15/2019. Signed by Chief Judge Geoffrey W. Crawford on 7/25/2018. (esb)
                               (Entered: 07/25/2018)
               07/27/2018   48 STIPULATED MOTION to Amend 1 Complaint, filed by Misty Blanchette Porter.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Vitt, Geoffrey) (Entered: 07/27/2018)
               07/30/2018   49 ORDER granting 48 MOTION to Amend Complaint. Signed by Chief Judge Geoffrey
                               W. Crawford on 7/30/2018. (This is a text−only Order.) (jal) (Entered: 07/30/2018)
               08/01/2018   50 FIRST AMENDED COMPLAINT against Dartmouth−Hitchcock Clinic,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                               Memorial Hospital filed by Misty Blanchette Porter. (Attachments: # 1 Certificate of
                               Service) (esb) (Entered: 08/01/2018)
               08/09/2018   51 DECISION granting 20 Motion for Authorization to Contact Dartmouth−Hitchcock
                               Employees Ex Parte, Pursuant to Vermont Rule of Professional Conduct 4.2 ; granting
                               26 Motion to Compel Response to Plaintiff's First Set of Requests to Produce. Signed
                               by Chief Judge Geoffrey W. Crawford on 8/9/2018. (esb) (Entered: 08/09/2018)
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              08/31/2018    52 DISCOVERY CERTIFICATE re: First Set of Interrogatories Propounded on Plaintiff
                               Misty Blanchette Porter and Second Request for Production of Documents to Plaintiff
                               Misty Blanchette Porter by Dartmouth−Hitchcock Clinic.(Coffin, Tristram) (Entered:
                               08/31/2018)
              09/04/2018    53 DISCOVERY CERTIFICATE − Interrogatories and Request to Produce by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 09/04/2018)
              09/07/2018    54 ANSWER to 50 Amended Complaint by Dartmouth−Hitchcock Clinic,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                               Memorial Hospital.(Coffin, Tristram) (Entered: 09/07/2018)
              10/10/2018    55 DISCOVERY CERTIFICATE re: Response to Defendants' Second Request for
                               Production of Documents and Response to Defendant Dartmouth−Hitchcock Clinic's
                               First Set of Interrogatories by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered:
                               10/10/2018)
              10/16/2018    56 DISCOVERY CERTIFICATE − Response to Request to Produce by
                               Dartmouth−Hitchcock Clinic (Coffin, Tristram) Filers clarified on 10/23/2018 (jlh).
                               (Entered: 10/16/2018)
              12/06/2018    57 JOINT MOTION to Amend the Discovery Schedule/Order filed by
                               Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit
                               A)(Coffin, Tristram) (Entered: 12/06/2018)
              12/06/2018    58 Entry removed from the docket. (Entered: 12/06/2018)
              12/07/2018    59 NOTICE OF DOCKET ENTRY REMOVAL: Document 58 has been removed from
                               the docket in light of 57 Joint Motion to Amend the Discovery Schedule filed. (law)
                               (Entered: 12/07/2018)
              12/10/2018    60 AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting 57 JOINT
                               MOTION to Amend the Discovery Schedule/Order. Discovery due by 4/30/2019.
                               Motions due by 5/31/2019. Early Neutral Evaluation set for 2/2019. Ready for Trial by
                               10/31/2019. Signed by Chief Judge Geoffrey W. Crawford on 12/10/2018. (esb)
                               (Entered: 12/10/2018)
              12/21/2018    61 MOTION to Compel Production of Documents filed by Misty Blanchette Porter.
                               (Attachments: # 1 Exhibit A)(Vitt, Geoffrey) Text clarified on 12/21/2018 (jlh).
                               (Entered: 12/21/2018)
              01/02/2019    62 STIPULATED MOTION for Extension of Time to File Response/Reply as to 61
                               MOTION to Compel Production of Documents filed by Dartmouth−Hitchcock Clinic,
                               Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                               Memorial Hospital.(Coffin, Tristram) (Entered: 01/02/2019)
              01/02/2019    63 AFFIDAVIT of Geoffrey J. Vitt re: 61 MOTION to Compel Production of Documents
                               by Misty Blanchette Porter (Vitt, Geoffrey) (Entered: 01/02/2019)
              01/04/2019    64 MOTION to Compel Answers to Interrogatories filed by Misty Blanchette Porter.
                               (Attachments: # 1 Affidavit of Geoffrey J. Vitt)(Vitt, Geoffrey) (Entered: 01/04/2019)
              01/04/2019    65 ORDER granting 62 MOTION for Extension of Time to File Response as to 61
                               Motion to Compel Production of Documents. Time extended to January 14, 2019.
                               Signed by Chief Judge Geoffrey W. Crawford on 1/4/2019. (This is a text−only
                               Order.) (jal) (Entered: 01/04/2019)
              01/10/2019    66 STIPULATED MOTION for Extension of Time to File Response/Reply as to 64
                               MOTION to Compel Answers to Interrogatories filed by Dartmouth−Hitchcock
                               Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary
                               Hitchcock Memorial Hospital.(Coffin, Tristram) (Entered: 01/10/2019)
              01/14/2019    67 ORDER granting 66 STIPULATED MOTION for Extension of Time to File Response
                               as to 64 MOTION to Compel Answers to Interrogatories. Signed by Chief Judge
                               Geoffrey W. Crawford on 1/14/2019. (This is a text−only Order.) (jal) (Entered:
                               01/14/2019)
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              01/14/2019    68 RESPONSE in Opposition re 64 MOTION to Compel Answers to Interrogatories filed
                               by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B)(Coffin, Tristram) (Entered: 01/14/2019)
              01/15/2019    69 RESPONSE in Opposition re 61 MOTION to Compel Production of Documents filed
                               by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B)(Coffin, Tristram) (Entered: 01/15/2019)
              01/25/2019    70 RESPONSE re: 64 MOTION to Compel Answers to Interrogatories by
                               Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                               Medical Center, Mary Hitchcock Memorial Hospital. (Coffin, Tristram) Link added on
                               1/28/2019 (jlh). (Entered: 01/25/2019)
              01/28/2019    71 REPLY to Response to 61 MOTION to Compel Production of Documents filed by
                               Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 01/28/2019)
              02/08/2019    72 REPLY to Response to 64 MOTION to Compel Answers to Interrogatories filed by
                               Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 02/08/2019)
              03/11/2019    73 ORDER granting 61 Motion to Compel Production of Documents and 64 Motion to
                               Compel Answers to Interrogatories. Defendants shall produce all documents withheld
                               based on the attorney−client privilege, to this court, for an in camera review.
                               Defendants shall comply within 15 days from the date of this order. Signed by Chief
                               Judge Geoffrey W. Crawford on 3/11/2019. (esb) (Entered: 03/11/2019)
              04/02/2019    74 MOTION for Attorney Fees filed by Misty Blanchette Porter.(Vitt, Geoffrey)
                               (Entered: 04/02/2019)
              04/02/2019    75 ORDER: In reviewing the attorney−client privilege materials, it is frequently difficult
                               to identify who is the attorney. Defense counsel shall provide a list of attorneys who
                               are senders or recipients of the communications. This list may be submitted ex parte as
                               part of the in camera review process. Signed by Chief Judge Geoffrey W. Crawford on
                               4/2/2019. (This is a text−only Order.) (jal) (Entered: 04/02/2019)
              04/05/2019    76 DISCOVERY CERTIFICATE − Interrogatories and Request to Produce by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/05/2019)
              04/16/2019    77 RESPONSE in Opposition to 74 MOTION for Attorney Fees Pursuant to F.R.C.P.
                               37(a)(5)(A) filed by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                               Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital. (Coffin,
                               Tristram) (Entered: 04/16/2019)
              04/18/2019    78 ENE LETTER re: session past due. Responses due by 4/25/2019. (eh) (Entered:
                               04/18/2019)
              04/18/2019    79 JOINT MOTION to Amend the Discovery Schedule/Order filed by Misty Blanchette
                               Porter. (Attachments: # 1 Exhibit A)(Vitt, Geoffrey) (Entered: 04/18/2019)
              04/19/2019    80 FOURTH AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting
                               79 MOTION to Amend the Discovery Schedule/Order. Discovery due by 10/15/2019.
                               Motions due by 11/15/2019. Early Neutral Evaluation shall be conducted in August
                               2019. Ready for Trial by February 2020. Signed by Chief Judge Geoffrey W.
                               Crawford on 4/19/2019. (law) (Entered: 04/19/2019)
              04/25/2019    81 DISCOVERY CERTIFICATE − Notice of Deposition of Dr. Joanne Conroy by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/25/2019)
              04/29/2019    82 REPLY to Response to 74 MOTION for Attorney Fees Pursuant to F.R.C.P.
                               37(a)(5)(A) filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 04/29/2019)
              04/30/2019    83 DISCOVERY CERTIFICATE − Notice of Deposition of Ed Merrens, M.D. by Misty
                               Blanchette Porter.(Vitt, Geoffrey) (Entered: 04/30/2019)
              05/02/2019    84 ORDER granting in part, denying in part 61 MOTION to Compel Production of
                               Documents (as to documents withheld from production as privileged and documents to
                               be produced). Signed by Chief Judge Geoffrey W. Crawford on 5/2/2019. (pjl)
                               (Entered: 05/02/2019)
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              05/14/2019     85 MOTION for Protective Order Regarding Notice of Deposition of Dr. Joanne Conroy
                                filed by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                                Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital.
                                (Attachments: # 1 Affidavit of Donald W. Schroeder)(Coffin, Tristram) (Entered:
                                05/14/2019)
              05/17/2019     86 ORDER denying 74 MOTION for Attorney's Fees Pursuant to Fed. R. Civ. P.
                                37(a)(5)(A). Signed by Chief Judge Geoffrey W. Crawford on 5/17/2019. (pjl)
                                (Entered: 05/17/2019)
              05/23/2019     87 STIPULATED MOTION for Extension of Time to File Response/Reply as to 85
                                MOTION for Protective Order Regarding Notice of Deposition of Dr. Joanne Conroy
                                filed by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 05/23/2019)
              05/28/2019     88 ORDER granting 87 MOTION for Extension of Time to File Response/Reply as to 85
                                MOTION for Protective Order Regarding Notice of Deposition of Dr. Joanne Conroy.
                                Time extended to June 3, 2019. Signed by Chief Judge Geoffrey W. Crawford on
                                5/28/2019. (This is a text−only Order.) (jal) (Entered: 05/28/2019)
              06/03/2019     89 RESPONSE in Opposition re 85 MOTION for Protective Order Regarding Notice of
                                Deposition of Dr. Joanne Conroy filed by Misty Blanchette Porter. (Attachments: # 1
                                Exhibit 1)(Vitt, Geoffrey) (Entered: 06/03/2019)
              06/04/2019     90 ADDITIONAL ORDER: re 61 MOTION to Compel Production of Documents. Signed
                                by Chief Judge Geoffrey W. Crawford on 6/4/2019. (esb) (Entered: 06/04/2019)
              06/07/2019     91 DISCOVERY CERTIFICATE − Notice of Deposition of Defendants by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 06/07/2019)
              06/13/2019     92 DISCOVERY CERTIFICATE − Notice of Deposition of Elizabeth C. Todd by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 06/13/2019)
              06/13/2019     93 DISCOVERY CERTIFICATE − Notice of Deposition of Daniel Herrick by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 06/13/2019)
              06/17/2019     94 REPLY to Response to 85 MOTION for Protective Order Regarding Notice of
                                Deposition of Dr. Joanne Conroy filed by Dartmouth−Hitchcock Clinic,
                                Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                                Memorial Hospital. (Attachments: # 1 Exhibit A)(Coffin, Tristram) (Entered:
                                06/17/2019)
              06/21/2019     95 NOTICE of Hearing re: 85 MOTION for Protective Order Regarding Notice of
                                Deposition of Dr. Joanne Conroy. Hearing set for 7/8/2019 at 1:30 PM in Rutland
                                Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered: 06/21/2019)
              06/25/2019     96 DISCOVERY CERTIFICATE − Notice of Deposition of Kimberly Fleury by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 06/25/2019)
              07/08/2019     97 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                                Motion Hearing held on 7/8/2019 re: 85 MOTION for Protective Order Regarding
                                Notice of Deposition of Dr. Joanne Conroy. G. Vitt, Esq. & K. Kramer, Esq. present
                                for plaintiff. T. Coffin, Esq. & D. Schroeder, Esq. present for defendants. Court makes
                                inquiries and counsel make statements. ORDERED: 85 MOTION for Protective Order
                                Regarding Notice of Deposition of Dr. Joanne Conroy is denied. Court makes inquiries
                                re: status of discovery schedule deadlines. ORDERED: Counsel are to file an amended
                                stipulated discovery schedule setting out new deadlines discussed. (Court Reporter:
                                Barry Cohen, O'Brien Court Reporting) (pjl) (Entered: 07/08/2019)
              07/10/2019     98 DISCOVERY CERTIFICATE − Notice of Deposition of Maria Padin, M.D. by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 07/10/2019)
              07/10/2019     99 DISCOVERY CERTIFICATE − Notice of Deposition of Ed Merrens, M.D.
                                (Amended) by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 07/10/2019)
              07/17/2019    100 NOTICE of Hearing: Status Conference set for 7/23/2019 at 02:00 PM in Rutland
                                Courtroom before Chief Judge Geoffrey W. Crawford. (Attorneys for defense to
                                appear by telephone pursuant to chambers). (esb) (Entered: 07/17/2019)
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              07/19/2019    101 DISCOVERY CERTIFICATE − Notice of Deposition of Rule 30(b)(6) − Amended by
                                Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 07/19/2019)
              07/19/2019    102 DISCOVERY CERTIFICATE − Notice of Deposition of Kimberly Fleury (Amended)
                                by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 07/19/2019)
              07/22/2019    103 DISCOVERY CERTIFICATE − Notice of Deposition of Heather Gunnell by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 07/22/2019)
              07/23/2019    104 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                                Status Conference held on 7/23/2019. G. Vitt, Esq. & K. Kramer, Esq. present for
                                plaintiff. D. Schroeder, Esq. & J. Joseph, Esq. present for defendants. Counsel make
                                statements re: (1) need to revise scheduling order deadlines, (2) custodian of records
                                and release of documents, (4) request for in camera review. ORDERED: Counsel are
                                to submit a fifth stipulated discovery schedule setting out dates agreed to. Defendants
                                are to make inquiries of custodians of records and release any records not previously
                                sent to plaintiff. Counsel is to submit records for in camera review to the court by
                                7/30/2019. (Court Reporter: Anne Henry) (pjl) Due date corrected on 7/24/2019 (jlh).
                                (Entered: 07/24/2019)
              07/29/2019    105 JOINT MOTION to Amend the Discovery Schedule/Order filed by Misty Blanchette
                                Porter. (Attachments: # 1 Exhibit A )(Vitt, Geoffrey) (Entered: 07/29/2019)
              07/30/2019    106 FIFTH AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting 105
                                JOINT MOTION to Amend the Discovery Schedule/Order. Discovery due by
                                10/31/2019. Motions due by 12/1/2019. Early Neutral Evaluation set for 10/2019.
                                Ready for Trial by 6/2020. Signed by Chief Judge Geoffrey W. Crawford on
                                7/30/2019. (esb) Link added/text clarified on 7/31/2019 (law). (Entered: 07/30/2019)
              08/05/2019    107 DISCOVERY CERTIFICATE − Notice of Deposition of Elizabeth C. Todd
                                (Amended) by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/05/2019)
              08/05/2019    108 DISCOVERY CERTIFICATE − Notice of Deposition of Kimberly Fleury (Second
                                Amended) by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/05/2019)
              08/07/2019    109 ORDER On In Camera Review. Signed by Chief Judge Geoffrey W. Crawford on
                                8/6/2019. (law) (Entered: 08/07/2019)
              08/07/2019    110 DISCOVERY CERTIFICATE − Notice of Deposition of Heather Gunnell (Amended)
                                by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/07/2019)
              08/08/2019    111 DISCOVERY CERTIFICATE − Notice of Deposition of Leslie DeMars by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/08/2019)
              08/16/2019    112 DISCOVERY CERTIFICATE − Notice of Deposition of Rule 30(b)(6) − Second
                                Amended by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/16/2019)
              08/21/2019    113 DISCOVERY CERTIFICATE − Notice of Deposition of Dr. Joanne Conroy by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 08/21/2019)
              09/03/2019    114 DISCOVERY CERTIFICATE − Interrogatories and Request to Produce by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 09/03/2019)
              09/04/2019    115 STIPULATED MOTION to Amend the Discovery Schedule/Order filed by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit
                                A)(Coffin, Tristram) (Entered: 09/04/2019)
              09/06/2019    116 DISCOVERY CERTIFICATE − Notice of Deposition of Plaintiff's Rule 30(b)(6)
                                Notice of Deposition to Defendants by Misty Blanchette Porter.(Vitt, Geoffrey)
                                (Entered: 09/06/2019)
              09/12/2019    117 SIXTH STIPULATED DISCOVERY SCHEDULE/ORDER granting 115
                                STIPULATED MOTION to Amend the Discovery Schedule/Order. Discovery due by
                                10/31/2019. Motions due by 12/1/2019. Early Neutral Evaluation set for 11/2019.
                                Ready for Trial by 6/2020. Signed by Chief Judge Geoffrey W. Crawford on
                                9/12/2019. (esb) (Entered: 09/12/2019)
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              09/17/2019    118 DISCOVERY CERTIFICATE − Notice of Deposition of Leslie DeMars (Amended)
                                by Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 09/17/2019)
              10/01/2019    119 DISCOVERY CERTIFICATE − Response to Request to Produce by Misty Blanchette
                                Porter.(Vitt, Geoffrey) (Entered: 10/01/2019)
              10/03/2019    120 MOTION to Compel Response to Fourth Set of Interrogatories and Requests to
                                Produce filed by Misty Blanchette Porter.(Kramer, Katherine) Text clarified on
                                10/3/2019 (jlh). (Entered: 10/03/2019)
              10/17/2019    121 RESPONSE in Opposition re 120 MOTION to Compel Response to Fourth Set of
                                Interrogatories and Requests to Produce filed by Dartmouth−Hitchcock Clinic,
                                Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                                Memorial Hospital. (Coffin, Tristram) (Main Document 121 replaced on 10/18/2019)
                                (jlh). (Entered: 10/17/2019)
              10/18/2019    122 NOTICE OF DOCKET ENTRY CORRECTION re: 121 RESPONSE in Opposition re
                                120 MOTION to Compel Response to Fourth Set of Interrogatories and Requests to
                                Produce. The incorrect document was uploaded at the time of filing. The correct
                                document is now attached to 121 as well as this entry. (jlh) (Entered: 10/18/2019)
              10/24/2019    123 ORDER granting 120 Motion to Compel Response to Fourth Set of Interrogatories and
                                Requests to Produce. Signed by Chief Judge Geoffrey W. Crawford on 10/24/2019.
                                (esb) (Entered: 10/24/2019)
              10/25/2019    124 JOINT MOTION for Status Conference to be held on or before November 7, or as
                                soon as Practicable filed by Misty Blanchette Porter.(Kramer, Katherine) (Main
                                Document 124 replaced on 10/28/2019) (jlh). (Additional attachment(s) added on
                                10/28/2019: # 1 Exhibit) (jlh). (Entered: 10/25/2019)
              10/28/2019    125 NOTICE OF DOCKET ENTRY CORRECTION re: 124 JOINT MOTION for Status
                                Conference to be held on or before November 7, or as soon as Practicable filed by
                                Misty Blanchette Porter. THe main document was uploaded with that of its attachment
                                as a singular pdf. The document has been broken apart and reattached to the entry. The
                                corrected documents are now attached to 124 as well as this entry. (Attachments: # 1
                                Exhibit) (jlh) (Entered: 10/28/2019)
              10/28/2019    126 DISCOVERY CERTIFICATE − Notice of Deposition of Judy McBean, M.D. by
                                Misty Blanchette Porter.(Vitt, Geoffrey) (Entered: 10/28/2019)
              10/29/2019    127 NOTICE of Hearing: Status Conference set for 11/4/2019 at 10:00 AM in Rutland
                                Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered: 10/29/2019)
              10/29/2019    128 NOTICE of Withdrawal of Daniel Long, Esq. by Dartmouth−Hitchcock Clinic,
                                Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                                Memorial Hospital (Long, Daniel) (Entered: 10/29/2019)
              11/04/2019    129 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                                Status Conference held on 11/4/2019. G. Vitt, Esq. & K. Kramer, Esq. present for pltf.
                                D. Schroeder, Esq. & J. Joseph, Esq. present for dfts. Counsel make statements re: (1)
                                dispute re: work product, (2) discovery issues and deadlines for outstanding discovery,
                                (3) pltf's request for add'l depositions, (4) pltf's request for renewed depositions of
                                previously deposed individuals, and (5) pltf's request to identify add'l custodians of
                                records. ORDERED: Discovery re: 4th set of requests to produce is due by
                                11/18/2019. All discovery is to be completed by 12/15/2019. Summary judgment
                                motions are due by 1/15/2020. Ready for trial date is June 2020. Pltf's request for add'l
                                depositions beyond 10 is denied. Pltf's request for renewed depositions of previously
                                deposed individuals is denied. Pltf's request to identify add'l custodian of records
                                beyond the 20 currently identified is denied. The court will issue an order setting out
                                these deadlines. (Court Reporter: Anne Henry) (pjl) (Entered: 11/04/2019)
              11/04/2019    130 ORDER granting 124 JOINT MOTION for a Status Conference. Plaintiff's request for
                                production of Defendants' Document 80 is denied. Defendants' responses to written
                                discovery are due by 11/18/2019; Discovery is to be completed by 12/15/2019;
                                Summary judgment motions are due by 1/15/2020. Signed by Chief Judge Geoffrey
                                W. Crawford on 11/4/2019. (pjl) (Entered: 11/04/2019)
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              11/07/2019    131 REPORT of Early Neutral Evaluator.(Clayton, Gregory) (Entered: 11/07/2019)
              11/20/2019    132 DISCOVERY CERTIFICATE − Notice of Deposition of Aimee Giglio by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 11/20/2019)
              12/02/2019    133 UNOPPOSED MOTION In Camera Review of Additional Documents filed by Misty
                                Blanchette Porter.(Vitt, Geoffrey) (Entered: 12/02/2019)
              12/12/2019    134 ORDER granting 133 MOTION for In Camera Review of Additional Documents.
                                Signed by Chief Judge Geoffrey W. Crawford on 12/11/2019. (This is a text−only
                                Order.) (jal) (Entered: 12/12/2019)
              12/26/2019    135 LETTER re: 134 Order granting 133 MOTION for In Camera Review of Additional
                                Documents by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                                Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital. (Joseph,
                                Jessica) (Entered: 12/26/2019)
              01/07/2020    136 ORDER re 133 UNOPPOSED MOTION In Camera Review of Additional
                                Documents. Signed by Chief Judge Geoffrey W. Crawford on 1/7/2020. (esb)
                                (Entered: 01/07/2020)
              01/13/2020    137 STIPULATED MOTION to Amend the Discovery Schedule/Order filed by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit
                                A)(Coffin, Tristram) (Entered: 01/13/2020)
              01/13/2020    138 SEVENTH AMENDED STIPULATED DISCOVERY SCHEDULE/ORDER granting
                                137 STIPULATED MOTION to Amend the Discovery Schedule/Order. Motions due
                                by 1/29/2020. Ready for Trial by 6/1/2020. Signed by Chief Judge Geoffrey W.
                                Crawford on 1/13/2020. (pjl) (Entered: 01/13/2020)
              01/29/2020    139 MOTION for Summary Judgment On All Claims filed by Dartmouth−Hitchcock
                                Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary
                                Hitchcock Memorial Hospital. (Attachments: # 1 Statement of Undisputed Facts, # 2
                                Index of Exhibits, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7
                                Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J,
                                # 13 Affidavit of Dr. Edward Merrens, # 14 Affidavit of Daniel Herrick, # 15 Affidavit
                                of Dr. Jocelyn Chertoff, # 16 Affidavit of Michele Z. King, # 17 Exhibit A, # 18
                                Exhibit B, # 19 Memorandum in Support)(Coffin, Tristram) (Entered: 01/29/2020)
              03/06/2020    140 RESPONSE in Opposition re: 139 MOTION for Summary Judgment On All Claims
                                filed by Misty Blanchette Porter. (Attachments: # 1 Memorandum in Support, # 2
                                Certificate of Service, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7
                                Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, # 12 Exhibit 10,
                                # 13 Exhibit 11, # 14 Exhibit 12, # 15 Exhibit 13, # 16 Exhibit 14, # 17 Exhibit 15, #
                                18 Exhibit 16, # 19 Exhibit 17, # 20 Exhibit 18, # 21 Exhibit 19, # 22 Exhibit 20, # 23
                                Exhibit 21, # 24 Exhibit 22) (documents sealed) (esb) Date filed corrected on 3/9/2020
                                (law). Exhibits 17 and 18 unsealed on 6/3/2020 pursuant to Document 149 (TOO)
                                (law). (Entered: 03/09/2020)
              03/23/2020    141 UNOPPOSED MOTION for Hearing/Status Conference Regarding Confidentiality
                                Designation re: 139 MOTION for Summary Judgment On All Claims filed by Misty
                                Blanchette Porter.(Kramer, Katherine) Event/text clarified, link added on 3/23/2020
                                (law). (Entered: 03/23/2020)
              03/25/2020    142 MEMORANDUM by Misty Blanchette Porter re: 141 UNOPPOSED MOTION for
                                Hearing/Status Conference Regarding Confidentiality Designation re: 139 MOTION
                                for Summary Judgment On All Claims (Kramer, Katherine) (Entered: 03/25/2020)
              03/27/2020    143 REPLY to Response to 139 MOTION for Summary Judgment On All Claims filed by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit
                                A)(Coffin, Tristram) (Entered: 03/27/2020)
              05/12/2020    144 NOTICE of Change of Address filed by Misty Blanchette Porter(Kramer, Katherine)
                                (Entered: 05/12/2020)
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              06/01/2020    145 MEMORANDUM by Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health,
                                Dartmouth−Hitchcock Medical Center, Mary Hitchcock Memorial Hospital Regarding
                                Confidentiality Designation Of Exhibits re: 140 Response in Opposition to 139
                                MOTION for Summary Judgment. (Coffin, Tristram) (Entered: 06/01/2020)
              06/01/2020    146 NOTICE of Hearing: Status Conference by telephone set for 6/2/2020 at 10:00 AM in
                                Rutland Courtroom before Chief Judge Geoffrey W. Crawford. (pjl) (Entered:
                                06/01/2020)
              06/01/2020    147 ORDER granting 141 MOTION for Hearing/Status Conference Regarding
                                Confidentiality Designation re: 139 Motion for Summary Judgment on All Claims.
                                Signed by Chief Judge Geoffrey W. Crawford on 6/1/2020. (This is a text−only
                                Order.) (jal) (Entered: 06/01/2020)
              06/02/2020    148 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                                Telephone Status Conference held on 6/2/2020. G. Vitt, Esq. & K. Kramer, Esq.
                                present for plaintiff. D. Schroeder, Esq., J. Joseph, Esq. & T. Coffin, Esq. present for
                                defendants. Court and counsel discuss confidentiality issues. ORDERED: Documents
                                10 & 11 are to be sealed. Sealing is denied for documents 17 & 18. Court discusses (1)
                                settlement, (2) oral argument on pending motion, (3) trial. ORDERED: The court will
                                not schedule oral argument re: 139 MOTION for Summary Judgment at this time.
                                Counsel request the scheduling of a jury trial for early Spring 2021. (Court Reporter:
                                Anne Henry) (pjl) (Entered: 06/02/2020)
              06/02/2020    149 ORDER: re 140 RESPONSE in Opposition re: 139 MOTION for Summary Judgment
                                On All Claims−−Following a hearing on June 2, 2020, the court orders that Doc.
                                140−12 and 140−13 (Ex. 10 and 11) shall be sealed. Doc. 140−19 and Doc. 140−20
                                (Ex. 17 and 18) are not sealed. Signed by Chief Judge Geoffrey W. Crawford on
                                6/2/2020. (This is a text−only Order.) (jal) (Entered: 06/02/2020)
              06/03/2020          UNSEALED Document(s): Exhibits 17 and 18 to 140 Response in Opposition are
                                  unsealed pursuant to court's Order (Document No. 149). (law) (Entered: 06/03/2020)
              06/16/2020    150 REDACTIONS to 140 RESPONSE in Opposition re: 139 MOTION for Summary
                                Judgment On All Claims by Misty Blanchette Porter (Attachments: # 1 Statement of
                                Disputed Material Facts (redacted), # 2 Exhibit 19 (redacted))(Vitt, Geoffrey) Link
                                added, text clarified on 6/16/2020 (law). (Entered: 06/16/2020)
              07/16/2020    151 NOTICE of Change of Address filed by Misty Blanchette Porter.(Kramer, Katherine)
                                Text clarified on 7/17/2020 (law). (Entered: 07/16/2020)
              11/03/2020    152 DECISION granting 139 Motion for Summary Judgment On All Claims. Signed by
                                Chief Judge Geoffrey W. Crawford on 11/3/2020. (esb) (Entered: 11/03/2020)
              11/04/2020    153 **VACATED IN PART on 2/27/2024 pursuant to 157 Mandate** JUDGMENT −
                                in favor of Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary
                                Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health against Misty Blanchette
                                Porter, M.D.. Signed by Deputy Clerk on 11/4/2020. (Attachments: # 1 Notice to
                                Litigants (appeal period expires 12/4/2020)) (esb) (Main Document 153 and
                                Attachment 1 replaced and text updated on 3/12/2024) (sjl). (Entered: 11/04/2020)
              11/17/2020    154 NOTICE OF APPEAL as to 153 Judgment, 152 Decision on Motion for Summary
                                Judgment by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 11/17/2020)
              11/17/2020          USCA Appeal Fees received $ 505 receipt number 4682023453 re 154 Notice of
                                  Appeal filed by Misty Blanchette Porter. (eh) (Entered: 11/17/2020)
              11/23/2020    155 TRANSMITTED Index on Appeal Circuit No. 20−3894 re: 154 Notice of Appeal.
                                (gmg) (Entered: 11/23/2020)
              02/15/2024    156 NOTICE of Hearing: Status Conference set for 3/27/2024 at 2:30 PM in Rutland
                                Courtroom before Chief Judge Geoffrey W. Crawford. (eh) (Entered: 02/15/2024)
              02/27/2024    157 MANDATE of USCA Case No 20−3894 as to 154 Notice of Appeal. The 153
                                judgment is affirmed in part, and vacated and remanded in part. (Attachments: # 1
                                Supporting Document)(law) (Entered: 02/27/2024)
              03/08/2024    158 ORDER re: Appointment of Special Settlement Master. Signed by Chief Judge
                                Geoffrey W. Crawford on 3/8/2024. (sjl) (Entered: 03/08/2024)
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              03/13/2024    159 MOTION to Unseal 140 RESPONSE in Opposition re: 139 MOTION for Summary
                                Judgment On All Claims filed by Misty Blanchette Porter (Vitt, Geoffrey) Modified on
                                3/14/2024 to clarify event/text and to link entries (sjl). (Entered: 03/13/2024)
              03/15/2024    160 MOTION Shorten Time and Permit Oral Argument re 159 MOTION to Unseal 140
                                RESPONSE in Opposition re: 139 MOTION for Summary Judgment On All Claims
                                filed by Misty Blanchette Porter(Vitt, Geoffrey) (Entered: 03/15/2024)
              03/18/2024    161 ORDER granting 160 Motion to Shorten Time and Permit Oral Argument re 159
                                Motion to Unseal. Any opposition to the motion to unseal shall be filed no later than
                                March 26, 2024. Signed by Chief Judge Geoffrey W. Crawford on 3/18/2024. (sjl)
                                (Entered: 03/18/2024)
              03/18/2024    162 AFFIDAVIT of John Schraven Pursuant to 28 U.S.C. §455 re: 158 Order re:
                                Appointment of Special Settlement Master. (sjl) (Entered: 03/18/2024)
              03/19/2024    163 RESPONSE by Misty Blanchette Porter re 158 ORDER re: Appointment of Special
                                Settlement Master. (Vitt, Geoffrey) Modified on 3/19/2024 to clarify text (sjl).
                                (Entered: 03/19/2024)
              03/22/2024    164 MEMORANDUM re 159 MOTION to Unseal 140 RESPONSE in Opposition re: 139
                                MOTION for Summary Judgment On All Claims by Misty Blanchette Porter (Vitt,
                                Geoffrey) Modified on 3/26/2024 to clarify text/links (sjl). (Entered: 03/22/2024)
              03/22/2024    165 MOTION for Appearance Pro Hac Vice of Morgan McDonald (Filing fee $ 150
                                receipt number AVTDC−1897956) filed by Dartmouth−Hitchcock Clinic,
                                Dartmouth−Hitchcock Health, Dartmouth−Hitchcock Medical Center, Mary Hitchcock
                                Memorial Hospital. (Attachments: # 1 Certificate of Admission and Good Standing, #
                                2 Affidavit of Morgan McDonald)(Coffin, Tristram) (Entered: 03/22/2024)
              03/26/2024    166 RESPONSE in Opposition re 159 MOTION to Unseal 140 RESPONSE in Opposition
                                re: 139 MOTION for Summary Judgment On All Claims filed by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Attachments: # 1 Exhibit
                                A)(Coffin, Tristram) (Entered: 03/26/2024)
              03/26/2024    167 RESPONSE re 158 Order Re: Appointment of Special Settlement Master by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Coffin, Tristram) (Entered:
                                03/26/2024)
              03/27/2024    168 ORDER granting 165 MOTION for Admission Pro Hac Vice of Morgan McDonald.
                                Signed by Chief Judge Geoffrey W. Crawford on 3/27/2024. (This is a text−only
                                Order.) (jal) (Entered: 03/27/2024)
              03/27/2024    169 MINUTE ENTRY for proceedings held before Chief Judge Geoffrey W. Crawford:
                                Status Conference and Motion Hearing held on 3/27/2024 re 159 MOTION to Unseal
                                140 RESPONSE in Opposition re: 139 MOTION for Summary Judgment On All
                                Claims. G. Vitt, Esq. and K. Kramer, Esq. present with plaintiff. D. Schroeder, Esq.,
                                M. McDonald, Esq., and T. Coffin, Esq. present for deft. Court introduces Special
                                Settlement Master John Schraven to parties. Court makes inquiries and counsel make
                                statements re: reassigning case to Judge Kevin Doyle, trial length and timing, and 159
                                Motion to Unseal 140 Response in Opposition re: 139 Motion for Summary Judgment.
                                Court makes findings. ORDERED: parties to submit stipulated order re: unsealing of
                                exhibits 10 & 11 in 140 Response in Opposition re: 139 Motion for Summary
                                Judgment. The parties shall also file a joint consent or objection to reassignment of the
                                case to Magistrate Judge Kevin Doyle. (Court Reporter: Sunnie Donath) (eh) (Entered:
                                03/28/2024)
              03/28/2024    170 ORDER Appointing John Schraven as Special Master. Signed by Chief Judge
                                Geoffrey W. Crawford on 3/28/2024. (sjl) (Entered: 03/29/2024)
              04/02/2024    171 JOINT CONSENT to Assignment of Case to Magistrate Judge Kevin J. Doyle by
                                Dartmouth−Hitchcock Clinic, Dartmouth−Hitchcock Health, Dartmouth−Hitchcock
                                Medical Center, Mary Hitchcock Memorial Hospital. (Coffin, Tristram) Modified on
                                4/3/2024 to clarify text (sjl). (Entered: 04/02/2024)
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              04/03/2024    172 NOTICE Clarifying Consent by Misty Blanchette Porter re 171 JOINT CONSENT to
                                Assignment of Case to Magistrate Judge Kevin J. Doyle (Vitt, Geoffrey) Modified on
                                4/3/2024 to clarify text (sjl). (Entered: 04/03/2024)
              04/12/2024    173 ORDER denying 159 Motion to Unseal 140 Response in Opposition re: 139 Motion
                                for Summary Judgment On All Claims. Signed by Chief Judge Geoffrey W. Crawford
                                on 4/12/2024. (eh) (Entered: 04/12/2024)
              04/16/2024    174 ORDER OF REFERRAL. Having received the consent of both parties to the referral
                                of this case to U.S. Magistrate Judge Kevin Doyle for trial, the court ORDERS that
                                this case is assigned to Judge Doyle for all purposes including jury trial and any further
                                motion practice. Chief Judge Geoffrey W. Crawford no longer assigned to case.
                                Signed by Chief Judge Geoffrey W. Crawford on 4/16/2024. (sjl) (Entered:
                                04/16/2024)
              05/07/2024    175 NOTICE of Hearing: Status Conference set for 5/16/2024 1:00 PM via video
                                conference before Judge Kevin J. Doyle. (hbc) (Entered: 05/07/2024)
              05/16/2024    176 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Status
                                Conference held on 5/16/2024. Present via video conference are Attys Geoffrey Vitt,
                                Katherine Kramer, and Sarah Nunan for Plaintiff and Attys Tristram Coffin, Morgan
                                McDonald, and Donald Schroeder for Defendants. Also present is Special Master John
                                Schraven. Discussion/clarification re any trial will be held in Burlington. Review of
                                potential trial dates discussed during 3/27/2024 Status Conference. Statements re
                                possible duration of trial. Plaintiff requests trial begin on 1/27/2025 and Defendants
                                request trial occur in late March, early April 2025. Counsel to confer w/ Plaintiff re
                                proposal and will advise within a week. John Schraven confirms he has met with all
                                the parties re settlement discussions. (Court Reporter: Recorded) (hbc) (Entered:
                                05/16/2024)
              05/28/2024    177 MEMORANDUM Regarding Trial Date re: 176 Status Conference (Vitt, Geoffrey)
                                Docket text simplified on 5/28/2024 (drg). (Entered: 05/28/2024)
              06/07/2024    178 CERTIFIED ORDER of USCA Case No 20−3894 as to 154 Notice of Appeal filed by
                                Misty Blanchette Porter. Costs are taxed in the amount of $1,458.50 in favor of
                                Appellant. (law) (Entered: 06/07/2024)
              06/17/2024    179 NOTICE of Hearing: Jury Draw set for 3/24/2025 at 9:00 AM in Burlington
                                Courtroom 410 before Judge Kevin J. Doyle. Jury Trial will commence immediately
                                following Jury Draw and will be held daily from 9:00 AM to 4:30 PM through
                                4/11/2025. (hbc) (Date corrected and Main Document 179 replaced on 9/30/2024)
                                (hbc). (Entered: 06/17/2024)
              06/27/2024    180 NOTICE OF APPEARANCE by Sarah H. Nunan, Esq on behalf of Misty Blanchette
                                Porter.(Nunan, Sarah) (Entered: 06/27/2024)
              09/30/2024    181 NOTICE OF DOCKET ENTRY CORRECTION re: 179 NOTICE of Hearing:
                                document has been replaced to correct the year in the date for Jury Trial. The corrected
                                document is now attached to 179 as well as to this entry. (hbc) (Entered: 09/30/2024)
              10/21/2024    182 MOTION for Status Conference with Request for Oral Argument/Hearing filed by
                                Misty Blanchette Porter(Vitt, Geoffrey) Docket text clarified on 10/23/2024 (eh).
                                (Entered: 10/21/2024)
              10/31/2024    183 NOTICE OF APPEARANCE by Eric D. Jones, Esq on behalf of Misty Blanchette
                                Porter. (Attachments: # 1 Certificate of Service)(Jones, Eric) (Entered: 10/31/2024)
              11/04/2024    184 RESPONSE in Opposition re 182 MOTION for Status Conference filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health. (Coffin, Tristram) Docket text
                                clarified on 11/6/2024 (eh). (Entered: 11/04/2024)
              11/05/2024    185 REPLY to Response to 182 MOTION for Status Conference filed by Misty Blanchette
                                Porter. (Vitt, Geoffrey) Docket text clarified on 11/6/2024 (eh). (Entered: 11/05/2024)
              11/06/2024    186 MOTION to Withdraw as Attorney and Substitute Counsel filed by Misty Blanchette
                                Porter(Kramer, Katherine) (Entered: 11/06/2024)
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              12/06/2024    187 ORDER: 182 MOTION for Status Conference is DENIED. The Motion does not
                                comply with Local Rule 7(a)(7), which requires a party filing a non−dispositive
                                motion to certify that the party has made a good faith attempt to obtain the opposing
                                party's agreement to the requested relief. Plaintiff represents that there may be
                                "substantial pre−trial matters" in this case, and that a briefing schedule should be set to
                                ensure timely resolution of any motions in limine. (Doc. 182 at 2.) Trial in this matter
                                is scheduled to commence on March 24, 2025. The Court will schedule a pretrial
                                conference to occur in early January 2025, at which time the Court and the parties will
                                discuss the timing of pretrial motions and any other scheduling issues. Signed by
                                Judge Kevin J. Doyle on 12/6/2024. (This is a text−only Order.) (cdc) (Entered:
                                12/06/2024)
              12/06/2024    188 ORDER: 186 MOTION to Withdraw as Counsel and Substitute Counsel is
                                GRANTED. Attorney Katherine Burghardt Kramer is relieved as counsel for Plaintiff,
                                and Attorney Eric D. Jones is substituted in her place. Signed by Judge Kevin J. Doyle
                                on 12/6/2024. (This is a text−only Order.) (cdc) (Entered: 12/06/2024)
              12/23/2024    189 NOTICE of Hearing: Pretrial Conference set for 1/13/2025 at 2:00 PM in Burlington
                                Courtroom 410 before Judge Kevin J. Doyle. (eh) (Entered: 12/23/2024)
              01/06/2025    190 MOTION for Appearance Pro Hac Vice of Megan Martinez (Filing fee $ 150 receipt
                                number AVTDC−2015520) filed by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health (Attachments: # 1 Affidavit of Megan Martinez, # 2
                                Certificate of Good Standing) (Coffin, Tristram) Modified on 1/6/2025 to include
                                receipt number (sjl). (Entered: 01/06/2025)
              01/07/2025    191 ORDER: 190 MOTION for Appearance Pro Hac Vice of Megan Martinez is
                                GRANTED. Signed by Judge Kevin J. Doyle on 1/7/2025. (This is a text−only Order.)
                                (cdc) (Entered: 01/07/2025)
              01/08/2025    192 PRETRIAL MEMORANDUM by Misty Blanchette Porter (Vitt, Geoffrey) (Entered:
                                01/08/2025)
              01/10/2025    193 DISCOVERY CERTIFICATE − Answer to Interrogatories and Request to Produce
                                Supplemental Interrogatory Answers by Misty Blanchette Porter. (Vitt, Geoffrey) Text
                                clarified on 1/13/2025 (hbc). (Entered: 01/10/2025)
              01/13/2025    194 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Pretrial
                                Conference held on 1/13/2025. E. Jones, Esq., G. Vitt, Esq., and S. Nunan, Esq.
                                present with plaintiff. D. Schroeder, Esq., M. Martinez, Esq., and T. Coffin, Esq.
                                present on behalf of defts. Court makes inquiries and counsel make statements re: trial
                                logistics and potential unsealing of Exhibit 10 (Doc. 140 −12) and Exhibit 11 (Doc.
                                140 −13) of 140 Response in Opposition re: 139 Motion for Summary Judgment On
                                All Claims. ORDERED: Jury Draw remains scheduled for 3/24/2025 at 9:00 AM. Jury
                                Trial will commence immediately following Jury Draw and will be held daily from
                                9:00 AM to 4:30 PM through 4/11/2025. Motions in Limine due by 2/14/2025,
                                responses due within 14 days of filing. Motion to Quash Trial Subpoena due by
                                2/14/2025. Jury Instructions and Expert Witness & Exhibits lists due by 3/10/2025.
                                (Court Reporter: Recorded) (eh) (Entered: 01/17/2025)
              01/22/2025    195 ORDER: During the pretrial conference held on 1/13/2025, Plaintiff advised of its
                                intent to seek unsealing of Exhibit 10 (Doc. 140 −12) and Exhibit 11 (Doc. 140 −13)
                                of 140 Response in Opposition re: 139 Motion for Summary Judgment. Defendants
                                oppose unsealing. ORDERED: Motions regarding potential unsealing of Exhibits 10
                                and 11 due by 2/14/2025. (This is a text−only Order.) Signed by Judge Kevin J. Doyle
                                on 1/22/2025. (eh) Docket text re: text−only order added on 1/22/2025 (eh). (Entered:
                                01/22/2025)
              01/22/2025    196 REVISED NOTICE of Hearing (updating courtroom number and including Court
                                Reporter): Jury Draw set for 3/24/2025 at 9:00 AM in Burlington Courtroom 110
                                before Judge Kevin J. Doyle. Jury Trial will commence immediately following Jury
                                Draw and will be held daily from 9:00 AM to 4:30 PM through 4/11/2025. (eh)
                                (Entered: 01/22/2025)
              02/04/2025    197 MOTION to Unseal Exhibits 10 & 11 for Trial re 140 Response filed by Misty
                                Blanchette Porter. (Vitt, Geoffrey) Text modified on 2/5/2025 (cdc). Event
                                corrected/link added on 2/10/2025 (hbc). (Entered: 02/04/2025)
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              02/14/2025    198 MOTION in Limine to Preclude the Testimony of Robert Bancroft filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health (Attachments: # 1 Memorandum in
                                Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D)(Coffin, Tristram)
                                (Entered: 02/14/2025)
              02/14/2025    199 MOTION to Quash Dr. Joanne Conroy's Trial Subpoena filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health (Attachments: # 1 Memorandum in
                                Support, # 2 Exhibit A)(Coffin, Tristram) (Entered: 02/14/2025)
              02/14/2025    200 MOTION in Limine to Preclude the "Cat's Paw" Theory of Liability filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health (Attachments: # 1 Memorandum in
                                Support, # 2 Exhibit A, # 3 Exhibit B)(Coffin, Tristram) (Entered: 02/14/2025)
              02/14/2025    201 MOTION in Limine to Preclude Duplicative Testimony of Dr. Porter's Qualifications
                                as a Physician filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health
                                (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                                C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Index of Exhibits, # 9 Exhibit G)
                                (Coffin, Tristram) Additional attachments added on 2/18/2025 (cdc). (Entered:
                                02/14/2025)
              02/14/2025    202 MOTION in Limine to Preclude Inadmissible Hearsay and Character Evidence filed
                                by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary
                                Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health (Attachments: # 1
                                Memorandum in Support)(Coffin, Tristram) (Entered: 02/14/2025)
              02/18/2025    203 NOTICE OF DOCKET ENTRY CORRECTION re: 201 MOTION in Limine. Index
                                of Exhibits and Exhibit G were not uploaded at time of filing. They are now attached
                                to 201 and this entry. (cdc) (Entered: 02/18/2025)
              02/18/2025    204 RESPONSE in Opposition re 197 MOTION to Unseal Document Exhibits 10 & 11
                                For Trial filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health. (Coffin,
                                Tristram) (Entered: 02/18/2025)
              02/21/2025    205 REPLY to Response to 197 MOTION to Unseal Document Exhibits 10 and 11 filed by
                                Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 02/21/2025)
              02/28/2025    206 RESPONSE in Opposition re 199 MOTION to Quash Dr. Joanne Conroy's Trial
                                Subpoena filed by Misty Blanchette Porter. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)
                                (Vitt, Geoffrey) Attachment descriptions modified on 3/3/2025 (cdc). (Entered:
                                02/28/2025)
              02/28/2025    207 RESPONSE in Opposition re 200 MOTION in Limine to Preclude the "Cat's Paw"
                                Theory of Liability filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered:
                                02/28/2025)
              02/28/2025    208 RESPONSE in Opposition re 198 MOTION in Limine to Preclude the Testimony of
                                Robert Bancroft filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered:
                                02/28/2025)
              02/28/2025    209 RESPONSE in Opposition re 202 MOTION in Limine to Preclude Inadmissible
                                Hearsay and Character Evidence filed by Misty Blanchette Porter. (Vitt, Geoffrey)
                                (Entered: 02/28/2025)
              03/01/2025    210 RESPONSE in Opposition re 201 MOTION in Limine to Preclude Duplicative
                                Testimony of Dr. Porter's Qualifications as a Physician filed by Misty Blanchette
                                Porter. (Vitt, Geoffrey) (Entered: 03/01/2025)
              03/06/2025    211 NOTICE of Hearing re: 198 , 200 − 202 MOTIONS in Limine and 199 MOTION to
                                Quash Dr. Joanne Conroy's Trial Subpoena. An evidentiary hearing will be held on
                                198 MOTION in Limine to Preclude the Testimony of Robert Bancroft. Motion
                                Hearing set for 3/14/2025 at 1:30 PM in Burlington Courtroom 410 before Judge
                                Kevin J. Doyle. (eh) (Entered: 03/06/2025)
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              03/07/2025    212 REPLY to Response to 199 MOTION to Quash Dr. Joanne Conroy's Trial Subpoena
                                filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary
                                Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health. (Attachments: # 1
                                Exhibit 1)(Coffin, Tristram) (Entered: 03/07/2025)
              03/07/2025    213 MOTION to Amend Complaint filed by Misty Blanchette Porter (Attachments: # 1
                                Exhibit A, # 2 Exhibit B) (Vitt, Geoffrey) Attachment description clarified on
                                3/7/2025 (cdc). (Entered: 03/07/2025)
              03/10/2025    214 REPLY to Response to 200 MOTION in Limine to Preclude the "Cat's Paw" Theory
                                of Liability filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health. (Coffin,
                                Tristram) (Entered: 03/10/2025)
              03/10/2025    215 WITNESS LIST by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health.. (Coffin,
                                Tristram) (Entered: 03/10/2025)
              03/10/2025    216 Entry removed from the docket. (Entered: 03/10/2025)
              03/10/2025    217 PROPOSED JURY INSTRUCTIONS by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Coffin, Tristram) (Entered: 03/10/2025)
              03/10/2025    218 PROPOSED JURY INSTRUCTIONS by Misty Blanchette Porter. (Vitt, Geoffrey)
                                (Entered: 03/10/2025)
              03/10/2025    219 EXHIBIT LIST of Misty Blanchette Porter, M.D. by Misty Blanchette Porter..
                                (document image is sealed) (Vitt, Geoffrey) Sealed on 4/15/2025 (eh). (Additional
                                attachment(s) added on 4/22/2025: # 1 Main Document (redacted)) (eh). (Entered:
                                03/10/2025)
              03/10/2025    220 WITNESS LIST by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered: 03/10/2025)
              03/10/2025    221 EXHIBIT LIST by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health.
                                (McDonald, Morgan) Text modified on 3/11/2025 (cdc). (Entered: 03/10/2025)
              03/11/2025    222 NOTICE OF DOCKET ENTRY REMOVAL: Document 216 has been removed, see
                                221 for self−corrected filing. (cdc) (Entered: 03/11/2025)
              03/11/2025    223 REPLY to Response to 198 MOTION in Limine to Preclude the Testimony of Robert
                                Bancroft filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health. (Coffin,
                                Tristram) (Entered: 03/11/2025)
              03/12/2025    224 RESPONSE in Opposition re 213 MOTION to Amend Complaint filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health. (Coffin, Tristram) (Entered:
                                03/12/2025)
              03/13/2025    225 REVISED NOTICE of Hearing re: 198 , 200 − 202 MOTIONS in Limine, 199
                                MOTION to Quash Dr. Joanne Conroy's Trial Subpoena, and 213 MOTION to
                                Amend Complaint. An evidentiary hearing will be held on 198 MOTION in Limine to
                                Preclude the Testimony of Robert Bancroft. Motion Hearing set for 3/14/2025 at 1:30
                                PM in Burlington Courtroom 410 before Judge Kevin J. Doyle.(eh) (Entered:
                                03/13/2025)
              03/13/2025    226 ORDER granting 197 MOTION to Unseal Exhibits 10 & 11 for Trial re 140 Response.
                                Signed by Judge Kevin J. Doyle on 3/13/2025. (cdc) (Entered: 03/13/2025)
              03/13/2025         UNSEALED Document: 140 RESPONSE in Opposition unsealed and all attachments
                                 pursuant to 226 Order. (cdc) (Entered: 03/13/2025)
              03/13/2025    227 SUPPLEMENTAL DOCUMENT(S) by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Coffin, Tristram) (Entered: 03/13/2025)
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              03/14/2025    228 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Evidentiary
                                Hearing and Motions Hearing held on 3/14/2025. Present with Plaintiff are Attorneys
                                Eric Jones, Geoffrey Vitt, and Sarah Nunan. Present on behalf of Defendants are
                                Attorneys Donald Schroeder, Morgan McDonald, and Tristram Coffin. Evidentiary
                                hearing re 198 MOTION in Limine to Preclude the Testimony of Robert Bancroft.
                                Motion Hearing re 199 MOTION to Quash Dr. Joanne Conroy's Trial Subpoena, 200
                                MOTION in Limine to Preclude the "Cat's Paw" Theory of Liability, 201 MOTION in
                                Limine to Preclude Duplicative Testimony of Dr. Porter's Qualifications as a
                                Physician, 202 MOTION in Limine to Preclude Inadmissible Hearsay and Character
                                Evidence, and 213 MOTION to Amend Complaint. ORDERED: Motions Taken
                                Under Advisement. (Court Reporter: Recorded) (tml) (Entered: 03/18/2025)
              03/18/2025    229 ORDER denying 201 MOTION in Limine to Preclude Duplicative Testimony of Dr.
                                Porter's Qualifications as a Physician. Signed by Judge Kevin J. Doyle on 3/18/2025.
                                (cdc) (Entered: 03/18/2025)
              03/19/2025    230 TRANSCRIPT of Motions Hearing held on 3/14/2025, before Judge Kevin J. Doyle.
                                Court Reporter/Transcriber Sunnie Donath, telephone number 802−747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                that date it may be obtained through PACER. Redaction Request due 4/14/2025.
                                Redacted Transcript Deadline set for 4/24/2025. Release of Transcript Restriction set
                                for 6/20/2025. (cdc) (Entered: 03/19/2025)
              03/19/2025    231 ORDER denying 202 MOTION in Limine to Preclude Inadmissible Hearsay and
                                Character Evidence. Signed by Judge Kevin J. Doyle on 3/19/2025. (cdc) (Entered:
                                03/19/2025)
              03/20/2025    232 MEMORANDUM by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health Regarding
                                Import Of Court Of Appeals Decision (Coffin, Tristram) (Entered: 03/20/2025)
              03/20/2025    233 ORDER denying 213 MOTION to Amend Complaint. Signed by Judge Kevin J.
                                Doyle on 3/20/2025. (cdc) (Entered: 03/20/2025)
              03/20/2025    234 ORDER denying 199 MOTION to Quash Dr. Joanne Conroy's Trial Subpoena.
                                Signed by Judge Kevin J. Doyle on 3/20/2025. (cdc) (Entered: 03/20/2025)
              03/20/2025    235 RENEWED MOTION to Preclude Testimony of Robert Bancroft Based on New March
                                19, 2025 Report filed by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health (Attachments: # 1 Exhibit A, # 2 Exhibit B)(McDonald,
                                Morgan) Text clarified on 3/21/2025 (hbc). (Entered: 03/20/2025)
              03/21/2025    236 RESPONSE in Opposition re 235 RENEWED MOTION to Preclude Testimony of
                                Robert Bancroft Based on New March 19, 2025 Report filed by Misty Blanchette
                                Porter. (Jones, Eric) Text clarified on 3/21/2025 (hbc). (Entered: 03/21/2025)
              03/21/2025    237 EXHIBIT LIST (Updated) by Misty Blanchette Porter. (document image is sealed)
                                (Jones, Eric) Text clarified on 3/21/2025 (hbc). Sealed on 4/15/2025 (eh). (Additional
                                attachment(s) added on 4/22/2025: # 1 Main Document (redacted)) (eh). (Entered:
                                03/21/2025)
              03/21/2025    238 ORDER denying 198 MOTION in Limine to Preclude the Testimony of Robert
                                Bancroft and denying 235 RENEWED MOTION to Preclude Testimony of Robert
                                Bancroft Based on New March 19, 2025 Report. Signed by Judge Kevin J. Doyle on
                                3/21/2025. (hbc) (Entered: 03/21/2025)
              03/21/2025    239 ORDER denying 200 MOTION in Limine to Preclude the "Cat's Paw" Theory of
                                Liability. Signed by Judge Kevin J. Doyle on 3/21/2025. (hbc) (Entered: 03/21/2025)
              03/21/2025    240 EXHIBIT LIST (Amended) by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (McDonald, Morgan) (Entered: 03/21/2025)
              03/23/2025    241 EXHIBIT LIST (Second Amended) by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Martinez, Megan) (Entered: 03/24/2025)
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              03/24/2025    242 PROPOSED VOIR DIRE by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Martinez, Megan) (Entered: 03/24/2025)
              03/24/2025    243 EXHIBIT LIST (Third Amended) by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Martinez, Megan) (Entered: 03/24/2025)
              03/24/2025    244 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Selection
                                held on 3/24/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present with
                                Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Juror Orientation held by court. Clerk swears in Jury Pool.
                                Court seats 28 potential jurors. Plaintiff's voir dire held. Jury excused at 11:45 am and
                                instructed to return at 12:45 pm. Jury returns at 12:54 pm. Defendants' voir dire held.
                                Jury of 12 chosen. Clerk swears in Jury. Preliminary Jury Instructions provided.
                                Parties give opening statements. Jury excused at 4:13 pm. Trial to resume 3/25/2025 at
                                9:00 am. (Court Reporter: Jan−Marie Glaze) (eh) text clarified on 3/25/2025 (eh).
                                (Entered: 03/25/2025)
              03/24/2025    245 JURY Seating Arrangement. (Document is sealed). (eh) (Entered: 03/25/2025)
              03/24/2025    246 JOINT STATEMENT of the Case. (eh) (Entered: 03/25/2025)
              03/25/2025    247 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                2) held on 3/25/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 9:16 am and jury enters courtroom at 9:22
                                am. Sharon Parent & Julia MacCallum sworn as plaintiff witnesses. Jury excused at
                                12:02 pm for lunch. Court reconvenes at 1:04 pm and jury returns at 1:11 pm with
                                Julia MacCallum on the witness stand. Plaintiff Misty Blanchette Porter sworn. Jury
                                excused at 4:19 pm. ORDERED: Trial to resume 3/26/2025 at 9:00 am. (Court
                                Reporter: Jan−Marie Glaze) (eh) (Entered: 03/26/2025)
              03/26/2025    248 MOTION in Limine to Preclude the Expert Report filed by Dartmouth−Hitchcock
                                Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health(Martinez, Megan) (Entered: 03/26/2025)
              03/26/2025    249 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                3) held on 3/26/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 9:01 am and jury enters at 9:11 am. Plaintiff
                                Misty Blanchette Porter sworn. Jury excused for lunch at 12:05 pm. Court reconvenes
                                at 1:07 pm and jury enters the courtroom at 1:15 pm with Plaintiff on the witness
                                stand. Jury excused at 4:33 pm and court adjourns at 4:36 pm. ORDERED: Hearing re:
                                248 MOTION in Limine to Preclude the Expert Report to be held 8:30 am 3/27/2025
                                outside presence of the jury. Trial to resume 3/27/2025 at 9:00 am. (Court Reporter:
                                Jan−Marie Glaze) (eh) (Entered: 03/27/2025)
              03/27/2025    250 EXHIBIT LIST Plaintiff's 2nd Updated Exhibit List (document image is sealed) by
                                Misty Blanchette Porter.. (Jones, Eric) Sealed on 4/15/2025 (eh). (Additional
                                attachment(s) added on 4/22/2025: # 1 Main Document (redacted)) (eh). (Entered:
                                03/27/2025)
              03/27/2025    251 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Motion Hearing
                                held on 3/27/2025 re 248 MOTION in Limine to Preclude the Expert Report held
                                outside presence of jury. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court makes inquiries and counsel make statements. Parties
                                stipulate to modified version of expert report and will revisit demonstrative/evidentiary
                                admissibility at a future point in trial. ORDERED: Court defers ruling on 248
                                MOTION in Limine to Preclude the Expert Report re: demonstrative/evidentiary
                                admissibility pending further argument by counsel. (Court Reporter: Jan−Marie Glaze)
                                (eh) (Entered: 03/28/2025)
              03/27/2025    252 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                4) held on 3/27/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 9:00 am and jury enters at 10:03 am.
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                                  Plaintiff Misty Blanchette Porter sworn. Jury excused for lunch at 11:57 am. Court
                                  reconvenes at 1:07 pm and jury returns at 1:17 pm with Plaintiff on the witness stand.
                                  Jury excused for 2:02 pm and court adjourns at 2:03 pm. ORDERED: Trial to resume
                                  3/28/2025 at 9:00 am. (Court Reporter: Jan−Marie Glaze) (eh) (Entered: 03/28/2025)
              03/28/2025    253 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                5) held on 3/28/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 9:01 am. Jury enters courtroom at 9:04 am.
                                Jenice Gonyea, Victoria Maxfield, Karen George, and Maria Padin sworn as plaintiff
                                witnesses. Jury excused for lunch and court reconvenes at 1:17 pm with Maria Padin
                                on the witness stand. Robert Bancroft sworn as plaintiff witness. Jury exits the
                                courtroom at 2:16 pm. Court and counsel make inquiries of Robert Bancroft re: report.
                                Court takes recess and reconvenes at 2:57 pm outside presence of the jury. Counsel
                                make statements and court makes findings. ORDERED: Deft to submit written
                                submissions re: R. Bancroft report disclosure by 7:00 pm 3/29/2025. Plaintiff to file a
                                response by 5:00 pm 3/30/2025. Jury reenters courtroom at 3:11 pm and is discharged
                                for the day. Court adjourns at 3:37 pm. ORDERED: Oral arguments re: R. Bancroft
                                report disclosure to be held 8:00 am 3/31/2025 outside presence of the jury. Jury trial
                                to resume 9:00 am 3/31/2025. (Court Reporter: Jan−Marie Glaze) (eh) (Entered:
                                03/28/2025)
              03/29/2025    254 MOTION in Limine Regarding Undisclosed Expert Opinions of Bancroft filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health (Attachments: # 1 Exhibit 1, # 2
                                Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Martinez, Megan) Attachment names clarified
                                on 3/31/2025 (hbc). (Entered: 03/29/2025)
              03/30/2025    255 WITNESS LIST (Updated) by Misty Blanchette Porter. (Vitt, Geoffrey) Text added on
                                3/31/2025 (hbc). (Entered: 03/30/2025)
              03/30/2025    256 RESPONSE in Opposition re 254 MOTION in Limine Regarding Undisclosed Expert
                                Opinions of Bancroft filed by Misty Blanchette Porter. (Vitt, Geoffrey) (Entered:
                                03/30/2025)
              03/30/2025    257 RESPONSE in Opposition re 254 MOTION in Limine Regarding Undisclosed Expert
                                Opinions of Bancroft [CORRECTED to include Exhibits] filed by Misty Blanchette
                                Porter. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                                Exhibit E)(Vitt, Geoffrey) Attachment descriptions corrected on 3/31/2025 (hbc).
                                (Entered: 03/30/2025)
              03/31/2025    258 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Motion Hearing
                                held on 3/31/2025 re 254 MOTION in Limine Regarding Undisclosed Expert
                                Opinions of Bancroft held outside presence of jury. Attorneys Eric Jones, Geoffrey
                                Vitt, and Sarah Nunan present with Plaintiff. Attorneys Tristram Coffin, Morgan
                                McDonald, and Donald Schroeder present for Defendants. Court makes inquiries and
                                counsel make statements. Court makes findings ORDERED: 254 MOTION in Limine
                                Regarding Undisclosed Expert Opinions of Bancroft is denied. (Court Reporter:
                                Sunnie Donath) (eh) (Entered: 03/31/2025)
              03/31/2025    259 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                6) held on 3/31/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 9:21 am. Robert Bancroft sworn as plaintiff
                                witness. Jury excused for lunch at 12:26 pm and court reconvenes at 1:32 pm. Jury
                                reenters courtroom at 1:40 pm with Robert Bancroft on the witness stand. Leslie
                                DeMars sworn as plaintiff witness. Jury excused for the day at 4:30 pm. ORDERED:
                                Jury trial to resume 9:00 am 4/1/2025. (Court Reporter: Sunnie Donath) (eh) (Entered:
                                03/31/2025)
              04/01/2025    260 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                7) held on 4/1/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Jury enters at 9:03 am. Leslie DeMars sworn as plaintiff
                                witness. Jury excused for lunch at 12:00 pm. Court reconvenes at 1:03 pm. Defense
                                makes oral motion re: testimony of Michelle Russell. Counsel make statements. Jury
                                enters courtroom at 1:17 pm and exits at 1:51 pm. Court revisits oral motion re:
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                                  Michelle Russell outside presence of jury. Court takes recess at 1:52 pm and
                                  reconvenes at 2:12 pm. Court makes findings. ORDERED: Defendant's oral motion re:
                                  testimony of Michelle Russell is granted in part and denied in part. Court issues
                                  limiting instructions re: Michelle Russell's testimony. Jury enters courtroom at 2:29
                                  pm. Michelle Russell, Joanne Conroy, and Ira Bernstein sworn as Plaintiff witness.
                                  Jury excused at 4:19 pm. Court adjourns at 4:28 pm. ORDERED: Jury trial to resume
                                  9:00 am 4/2/2025. (Court Reporter: Sunnie Donath) (eh) (Entered: 04/02/2025)
              04/02/2025    261 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                8) held on 4/2/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Jury enters the courtroom at 9:04 am. Edward Merrens sworn
                                as plaintiff witness. Jury takes morning break at 10:16 am; Plaintiff rests and parties
                                make statements re: admissibility of R. Bancroft exhibit and chart. Court makes
                                findings. ORDERED: R. Bancroft exhibit and chart are not admitted into evidence but
                                can be used for demonstrative purposes. Deft makes motion for directed verdict. Court
                                takes recess at 10:27 am and reconvenes at 10:43 am. Jury reenters at 10:48 am and is
                                excused for lunch until 1:00 pm. Counsel make oral arguments re: Defendant's Oral
                                Motion for Directed Verdict. Court takes recess at 11:57 am and reconvenes at 12:51
                                pm. Court makes findings. ORDERED: Defendant's Oral Motion for Directed Verdict
                                is denied. Jury enters courtroom at 1:04 pm. Judith Stern, Kathleen Mansfield, and
                                Kelley Mousley sworn as defendant witnesses. Court adjourns at 4:02 pm.
                                ORDERED: Jury trial to resume 9:00 am 4/3/2025. (Court Reporter: Sunnie Donath)
                                (eh) (Entered: 04/02/2025)
              04/03/2025    262 PROPOSED JURY INSTRUCTIONS by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Martinez, Megan) (Entered: 04/03/2025)
              04/03/2025    263 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                9) held on 4/3/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 8:57 am. Jury enters the courtroom at 9:20
                                am. Edward Merrens sworn as defendant witness. Jury excused for lunch at 11:59 am.
                                Court reconvenes at 1:03 pm and jury enters courtroom at 1:05 pm. Daniel Herrick and
                                Heather Gunnell sworn as defendant witnesses. Jury excused at 4:10 pm. Court
                                adjourns at 4:13 pm. ORDERED: Jury trial to resume 9:00 am 4/4/2025. (Court
                                Reporter: Sunnie Donath) (eh) (Entered: 04/04/2025)
              04/04/2025    264 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                10) held on 4/4/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Jury enters the courtroom at 9:10 am. Jocelyn Chertoff and
                                Maria Padin sworn as defendant witnesses. Jury takes morning break at 10:29 am.
                                Defendant rests and renews Motion for Directed Verdict. Court takes a recess and
                                returns at 11:03 am. ORDERED: Defendant's Oral Motion for Directed Verdict is
                                denied. Court makes inquiries and counsel make statements re: rebuttal case. Jury
                                reenters courtroom at 11:28 and is excused for lunch until 12:45 pm. Court reconvenes
                                at 12:33 pm and makes findings and instructions re: rebuttal case. Jury enters
                                courtroom at 12:51 pm. Eunice Lee sworn as plaintiff witness for rebuttal case.
                                Plaintiff rests and jury excused at 1:30 pm. Court adjourns at 1:36 pm. ORDERED:
                                Jurors to report 4/8/2025 at 9:00 am for closings and jury charge. Parties to hold a
                                charge conference 4/7/2025 at 1:00 pm. (Court Reporter: Sunnie Donath) (eh) Docket
                                text updated on 4/9/2025 (eh). (Entered: 04/04/2025)
              04/04/2025    265 EXHIBIT LIST Updated Redacted (document image is sealed) by Misty Blanchette
                                Porter.. (Vitt, Geoffrey) Sealed on 4/15/2025 (eh). (Additional attachment(s) added on
                                4/22/2025: # 1 Main Document (redacted)) (eh). (Entered: 04/04/2025)
              04/06/2025    266 MOTION requesting (i) a jury instruction to the effect that the jury should not include
                                pre−judgment interest in connection with any damages awarded to Dr. Porter, and (ii)
                                that, if the jury determines that Dr. Porter is indeed entitled to damages, the Court
                                apply the federal interest rate filed by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health(Martinez, Megan) (Entered: 04/06/2025)
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              04/06/2025    267 MOTION to preclude any reduction of damages based on conditional offer of
                                severance pay filed by Misty Blanchette Porter(Vitt, Geoffrey) (Entered: 04/06/2025)
              04/06/2025    268 RESPONSE in Opposition re 266 MOTION requesting (i) a jury instruction to the
                                effect that the jury should not include pre−judgment interest in connection with any
                                damages awarded to Dr. Porter, and (ii) that, if the jury determines that Dr. Porter is
                                indeed entitled to damages, th filed by Misty Blanchette Porter. (Vitt, Geoffrey)
                                (Entered: 04/06/2025)
              04/06/2025    269 RESPONSE in Opposition re 267 MOTION to preclude any reduction of damages
                                based on conditional offer of severance pay filed by Dartmouth−Hitchcock Medical
                                Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Martinez, Megan) (Entered: 04/06/2025)
              04/07/2025    270 COURT'S PROPOSED JURY INSTRUCTIONS. (eh) (Entered: 04/07/2025)
              04/07/2025    271 COURT'S PROPOSED JURY VERDICT FORM. (eh) (Entered: 04/07/2025)
              04/07/2025    272 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Charge
                                Conference (Trial Day 11) held on 4/7/2025.. Attorneys Eric Jones and Geoffrey Vitt
                                present on behalf of Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and
                                Donald Schroeder present for Defendants. Court makes inquiries and counsel make
                                statements re: 270 Court's Proposed Jury Instructions and 271 Court's Proposed
                                Verdict Form. Court makes inquiries and counsel make statements re: 266 MOTION
                                requesting (i) a jury instruction to the effect that the jury should not include
                                pre−judgment interest in connection with any damages awarded to Dr. Porter, and (ii)
                                that, if the jury determines that Dr. Porter is indeed entitled to damages, the Court
                                apply the federal interest rate and 267 MOTION to preclude any reduction of damages
                                based on conditional offer of severance pay. Court makes findings. Court revisits
                                ruling re: R. Bancroft exhibit and does not allow document to be used as an exhibit or
                                for demonstrative purposes. ORDERED: 266 MOTION requesting (i) a jury
                                instruction to the effect that the jury should not include pre−judgment interest in
                                connection with any damages awarded to Dr. Porter, and (ii) that, if the jury
                                determines that Dr. Porter is indeed entitled to damages, the Court apply the federal
                                interest rate is denied as moot. 267 MOTION to preclude any reduction of damages
                                based on conditional offer of severance pay is taken under advisement. Parties to meet
                                at 8:30 am 4/8/2025 to review revised jury instructions and verdict form. Trial to
                                commence 9:00 am. (Court Reporter: Sunnie Donath) (eh) Text clarified on 4/9/2025
                                (eh). (Entered: 04/07/2025)
              04/08/2025    273 ASSENTED−TO MOTION seal previous exhibit lists re 265 Exhibit List, 250 Exhibit
                                List, 237 Exhibit List, 219 Exhibit List filed by Misty Blanchette Porter(Vitt,
                                Geoffrey) (Entered: 04/08/2025)
              04/08/2025    274 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                12) held on 4/8/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 8:36 am to review revised jury instructions
                                and verdict form. Counsel makes statements re: 267 MOTION to preclude any
                                reduction of damages based on conditional offer of severance pay. Court makes
                                findings. ORDERED: 267 MOTION to preclude any reduction of damages based on
                                conditional offer of severance pay is granted in part and denied in part based on
                                limitations provided on the record. Jury enters the courtroom at 9:10 am. Plaintiff and
                                Defendant make closing statements, Plaintiff makes rebuttal. Jury excused at 11:37 am
                                for lunch. Court reconvenes at 12:50 pm. Defendant moves to strike rebuttal statement.
                                Court takes a brief recess and reconvenes at 1:10 pm. Court makes findings.
                                OREDERED: Defendant's Oral Motion to Strike Rebuttal Statement is denied. Jury
                                enters courtroom at 1:11 pm. Court reads jury charge and appoints foreperson. Jury
                                exits the courtroom at 2:13 pm and reenters at 2:15 pm to receive instructions from the
                                court re: time for deliberation. Jury exits the courtroom at 2:18 pm and begins
                                deliberations. Court officers sworn. Court receives Jury Note #1 and convenes at 4:31
                                pm. Jury enters the courtroom at 4:32 pm and are excused at 4:33 pm. ORDERED:
                                Deliberations to resume 9:00 am 4/9/2025. (Court Reporter: Sarah Bentley, Bentley
                                Court Reporters) (eh) Text clarified on 4/10/2025 (eh). (Entered: 04/09/2025)
              04/08/2025    275 JURY CHARGE. (Attachments: # 1 Main Document (unredacted, sealed)) (eh)
                                (Entered: 04/09/2025)
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              04/08/2025    276 JURY NOTE #1. (Document image is sealed).. (eh) (Entered: 04/09/2025)
              04/09/2025    277 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial (Day
                                13) held on 4/9/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present
                                with Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Jury in deliberations. Court convenes at 4:29 pm re: Jury Notes
                                2 & 3. Jury enters at 4:32 and are excused at 4:33 pm for the day. ORERED: Court to
                                meet with counsel re: jury request at 8:30 am 4/10/2025. Jury to resume deliberations
                                at 9:00 am. (Court Reporter: Sarah Bentley, Bentley Court Reporters) (eh) (Entered:
                                04/10/2025)
              04/09/2025    278 JURY NOTE #2. (Document image is sealed). (eh) (Entered: 04/10/2025)
              04/09/2025    279 JURY NOTE #3. (Document image is sealed). (eh) (Entered: 04/10/2025)
              04/10/2025    280 MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle: Jury Trial held
                                on 4/10/2025. Attorneys Eric Jones, Geoffrey Vitt, and Sarah Nunan present with
                                Plaintiff. Attorneys Tristram Coffin, Morgan McDonald, and Donald Schroeder
                                present for Defendants. Court convenes at 8:36; counsel and court makes statement re:
                                jury note. Jury enters the courtroom at 9:13 am and Court give instruction re: request.
                                Jury exits the courtroom at 9:16 am to continue deliberations. Court reconvenes at
                                10:42 am and reviews new jury note. Court reconvenes at 4:06 pm and informs parties
                                of jury note re: verdict. Jury enters courtroom at 4:07 pm. Deputy clerk reads verdict.
                                Jurors exit the courtroom at 4:15 pm. Counsel make statements re: post trial motions.
                                Court makes findings. ORDERED: Parties to file post trial motions due in 28 days.
                                (Court Reporter: Sarah Bentley, Bentley Court Reporters) (eh) (Entered: 04/10/2025)
              04/10/2025    281 JURY VERDICT. (Attachments: # 1 Main Document (unredacted, sealed)) (eh)
                                (Entered: 04/10/2025)
              04/10/2025    282 JURY NOTE #4. (Document image is sealed). (eh) (Entered: 04/10/2025)
              04/10/2025    283 JURY NOTE #5. (Document image is sealed). (eh) (Entered: 04/10/2025)
              04/10/2025    285 OFFICIAL EXHIBIT LIST. (eh) (Entered: 04/15/2025)
              04/10/2025    286 OFFICIAL WITNESS LIST. (eh) (Entered: 04/15/2025)
              04/15/2025    284 ORDER granting in part and denying in part 273 ASSENTED−TO MOTION seal
                                previous exhibit lists re 265 Exhibit List, 250 Exhibit List, 237 Exhibit List, 219
                                Exhibit List. The Court will not seal the previous exhibit lists in their entirety. On or
                                before 4/22/2025, Plaintiff shall file proposed Exhibit Lists that redact the relevant
                                patient information but otherwise permit public access to the previous Exhibit Lists.
                                Signed by Judge Kevin J. Doyle on 4/15/2025. (This is a text−only Order.) (eh)
                                (Entered: 04/15/2025)
              04/18/2025    287 TRANSCRIPT of Trial Testimony of Dr. Misty Blanchette Porter held on
                                3/25/2025−3/27/2025, before Judge Kevin J. Doyle. Court Reporter/Transcriber
                                Jan−Marie Glaze, telephone number (253) 312−0257. Transcript may be viewed at the
                                court public terminal or purchased through the Court Reporter/Transcriber before the
                                deadline for Release of Transcript Restriction. After that date it may be obtained
                                through PACER. Redaction Request due 5/12/2025. Redacted Transcript Deadline set
                                for 5/22/2025. Release of Transcript Restriction set for 7/21/2025. (eh) (Entered:
                                04/18/2025)
              04/22/2025    288 NOTICE OF DOCKET ENTRY CORRECTION re: 219 , 237 , 250 , and 265 Exhibit
                                Lists. A redacted copy of each exhibit list has been added and can be found attached to
                                219 , 237 , 250 , 265 and this entry. (Attachments: # 1 Document 237, # 2 Document
                                250, # 3 Document 265) (eh) (Entered: 04/22/2025)
              04/23/2025    289 MOTION for Clarification Regarding Deadline for Post−Trial Motions filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health(Martinez, Megan) (Entered:
                                04/23/2025)
              04/23/2025    290 TRANSCRIPT of Jury Trial (Day 6) hearing held on 3/31/2025, before Judge Kevin J.
                                Doyle. Court Reporter/Transcriber Sunnie Donath, telephone number (802) 747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
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                                  that date it may be obtained through PACER. Redaction Request due 5/19/2025.
                                  Redacted Transcript Deadline set for 5/30/2025. Release of Transcript Restriction set
                                  for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    291 TRANSCRIPT of Jury Trial (Day 7) hearing held on 4/1/2025, before Judge Kevin J.
                                Doyle. Court Reporter/Transcriber Sunnie Donath, telephone number (802) 747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                that date it may be obtained through PACER. Redaction Request due 5/19/2025.
                                Redacted Transcript Deadline set for 5/30/2025. Release of Transcript Restriction set
                                for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    292 TRANSCRIPT of Jury Trial (Day 8) hearing held on 4/2/2025, before Judge Kevin J.
                                Doyle. Court Reporter/Transcriber Sunnie Donath, telephone number (802) 747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                that date it may be obtained through PACER. Redaction Request due 5/19/2025.
                                Redacted Transcript Deadline set for 5/30/2025. Release of Transcript Restriction set
                                for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    293 TRANSCRIPT of Jury Trial (Day 9) hearing held on 4/3/2025, before Judge Kevin J.
                                Doyle. Court Reporter/Transcriber Sunnie Donath, telephone number (802) 747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                that date it may be obtained through PACER. Redaction Request due 5/19/2025.
                                Redacted Transcript Deadline set for 5/30/2025. Release of Transcript Restriction set
                                for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    294 TRANSCRIPT of Jury Trial (Day 10) hearing held on 4/4/2025, before Judge Kevin J.
                                Doyle. Court Reporter/Transcriber Sunnie Donath, telephone number (802) 747−3140.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                that date it may be obtained through PACER. Redaction Request due 5/19/2025.
                                Redacted Transcript Deadline set for 5/30/2025. Release of Transcript Restriction set
                                for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    295 TRANSCRIPT of Jury Trial (Day 11)− Charge Conference hearing held on 4/7/2025,
                                before Judge Kevin J. Doyle. Court Reporter/Transcriber Sunnie Donath, telephone
                                number (802) 747−3140. Transcript may be viewed at the court public terminal or
                                purchased through the Court Reporter/Transcriber before the deadline for Release of
                                Transcript Restriction. After that date it may be obtained through PACER. Redaction
                                Request due 5/19/2025. Redacted Transcript Deadline set for 5/30/2025. Release of
                                Transcript Restriction set for 7/25/2025. (eh) (Entered: 04/23/2025)
              04/23/2025    296 MOTION for Prejudgment Interest filed by Misty Blanchette Porter(Vitt, Geoffrey)
                                (Entered: 04/23/2025)
              04/24/2025    297 JUDGMENT is hereby entered in the amount of $1,125,000.00 for Plaintiff Misty
                                Blanchette Porter, against Defendants Dartmouth−Hitchcock MedicalCenter,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital, and
                                Dartmouth−Hitchcock Health. Signed by Deputy Clerk on 4/24/2025. (Attachments: #
                                1 Notice to Litigants (appeal period expires 5/27/2025))(eh) (Entered: 04/24/2025)
              04/24/2025    298 ORDER granting 289 Motion for Clarification Regarding Deadline for Post−Trial
                                Motions. Post−Trial Motions shall be filed 28 days from the date of Entry of Judgment
                                on the docket of this Court. Signed by Judge Kevin J. Doyle on 4/24/2025. (This is a
                                text−only Order.) (eh) (Entered: 04/24/2025)
              05/07/2025    299 RESPONSE in Opposition re 296 MOTION for Prejudgment Interest filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health. (Attachments: # 1 Index of
                                Exhibits, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7
                                Exhibit 6)(Martinez, Megan) (Entered: 05/07/2025)
              05/08/2025    300 MOTION for Attorney Fees filed by Misty Blanchette Porter (Attachments: # 1
                                Declaration of Geoffrey J. Vitt, # 2 Declaration of Eric Jones, # 3 Exhibit A, # 4
                                Exhibit B, # 5 Exhibit C)(Vitt, Geoffrey) (Entered: 05/08/2025)
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              05/08/2025    301 BILL OF COSTS by Misty Blanchette Porter. (Attachments: # 1 Exhibit A)(Vitt,
                                Geoffrey) (Entered: 05/08/2025)
              05/08/2025    302 MOTION to Alter Judgment filed by Misty Blanchette Porter(Vitt, Geoffrey) (Entered:
                                05/08/2025)
              05/12/2025    303 MOTION for Access to Audio Recordings of Trial Proceedings filed by Susan Burton.
                                (cdc) (Entered: 05/12/2025)
              05/21/2025    304 REPLY to Response to 296 MOTION for Prejudgment Interest filed by Misty
                                Blanchette Porter. (Attachments: # 1 Exhibit A − March 28 draft transcript, # 2 Exhibit
                                B − March 26 draft transcript)(Vitt, Geoffrey) (Entered: 05/21/2025)
              05/22/2025    305 MOTION to Alter Judgment & MOTION for New Trial on Plaintiff's VFEPA Claim
                                with Request for Oral Argument/Hearing filed by Dartmouth−Hitchcock Medical
                                Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health (McDonald, Morgan) Text odified on 5/22/2025 (cdc).
                                (Entered: 05/22/2025)
              05/22/2025    306 RESPONSE in Opposition re 302 MOTION to Alter Judgment filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health. (McDonald, Morgan) (Entered:
                                05/22/2025)
              05/22/2025    307 NOTICE of Objection to Plaintiff's Bill of Costs by Dartmouth−Hitchcock Medical
                                Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health (McDonald, Morgan) (Entered: 05/22/2025)
              05/22/2025    308 MOTION for New Trial Related to Damages Issues with Request for Oral
                                Argument/Hearing filed by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health (Attachments: # 1 Index of Exhibits, # 2 Exhibit 1, # 3
                                Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4)(McDonald, Morgan) (Entered: 05/22/2025)
              05/22/2025    309 RESPONSE in Opposition re 300 MOTION for Attorney Fees filed by
                                Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock Clinic, Mary Hitchcock
                                Memorial Hospital, Dartmouth−Hitchcock Health. (McDonald, Morgan) (Entered:
                                05/22/2025)
              05/27/2025    310 NOTICE OF APPEAL as to 297 Judgment by Dartmouth−Hitchcock Medical Center,
                                Dartmouth−Hitchcock Clinic, Mary Hitchcock Memorial Hospital,
                                Dartmouth−Hitchcock Health. (Filing fee $ 605 receipt number AVTDC−2080613)
                                (McDonald, Morgan) (Entered: 05/27/2025)
              05/27/2025    311 RESPONSE in Opposition re 303 MOTION Access to Audio Recordings of Trial
                                Proceedings filed by Dartmouth−Hitchcock Medical Center, Dartmouth−Hitchcock
                                Clinic, Mary Hitchcock Memorial Hospital, Dartmouth−Hitchcock Health.
                                (McDonald, Morgan) (Entered: 05/27/2025)
